                                                EXHIBIT 7

             In The Matter Of:
Dare/ Adelsberger and Annette Adelsberger vs.
       Union Pacific Railroad Company




            Annette Adelsberger
             February 12, 2020




               Kelly Hill, CCR




               Original File AAdelsberger.txt
         i\'lin-u-Script® with \Vord Index
Darel Adelsberger and Annette Adelsberger vs.                                                                Annette Adelsberger
Union Pacific Railroad Company                                                                                 February 12, 2020
                                                            Page 1                                                         Page3
 1            IN THB UN:r:TBD STATBS DISTRICT COURT                   1   APPEARANCES OP COUNSEL:
                 BASTBRN DISTRICT OP ARKANSAS
 2                        WBSTBRN DIVISION                            2
                                                                          ON BBHALP OP PLAINTIPPS:
 3   DAREL ADBLSBERGBR AND                                            3
     ANNBTTB ADELSBBRGER                                                      MR. STANLEY D. RAULS
 4                  PLAINTIPPS,                                       4       ATTORNEY AT LAW
                                                                              P.O. BOX 21665
 5   vs.                                    NO. 4:19-CV-3             5       LITTLE ROCK, ARKANSAS 72221
                                                  SWW
 6   UNION PACIFIC RAILROAD COMPANY                                   6
                    DBPBNDANT.                                            ON BBBALP OP DEPENDANT:
 7                                                                    7
                                                                             MR. SCOTT H. TlJCKBR
 8                                                                    8      FRIDAY, BLDRBDGB & CLARK, LLP
                                                                             400 WBST CAPITOL AVENUE, SUITE 2000
 9                                                                    9      LITTLE ROCK, ARKANSAS 72201
10                                                                   10
                                                                          ALSO PRBSENT:    BOB DUNN, VIDEOGRAPHER
11                  VIDEOTAPBD ORAL DEPOSITION OP                    11
12                      ANNETTE ADELSBERGER                          12
13                       FEBRUARY 12, 2020                           13
14                                                                   14
15                                                                   15
16                                                                   16
17                                                                   17
18                                                                   18
19                                                                   19
20                          KBLLY D. HILL                            20
21                    CBRTIPIBD COURT REPORTER                       21
22                       STATB OP ARKANSAS                           22
23                          (501) 416-9329                           23
24                                                                   24
25                                                                   25

                                                            Page2                                                          Page4
 l         ANSWERS AND VIDEOTAPED DEPOSITION OP ANNETTE               1                   S T I P U L A T I O N S
 2   ADELSBBRGBR, a witness produced at the request of                2
 3   the Defendant, was taken pursuant to Notice of                   3       The attorneys for all parties present
 4   Videotaped Deposition and Subpoena Duces Tecum,                  4   stipulate and agree as follows:
 5   in the above-styled and numbered cause on the                    5
 6   12th day of February 2020, 10:05 a.m., before                    6   Objections:
 7   Kelly Hill, a Certified Court Reporter, taken at                 7       Reserve all objections, except as to the form
 8   Friday, Eldredge & Clark Law Pirm, 400 West                      8   of the questions and the nonresponsiveness of the
 9   Capitol Avenue, Suite 2000, Little Rock, Arkansas                9   answers, until the time of trial, which
10   72201, in accordance with the Federal Rules of                  10   objections are waived if not made at the taking
11   civil Procedure.                                                11   of the deposition.
12                                                                   12
13                                                                   13   Signature:
14                                                                   14       Waived.
15                                                                   15
16                                                                   16
17                                                                   17
18                                                                   18
19                                                                   19
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21                                                                   21
22                                                                   22
23                                                                   23
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25                                                                   25


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 1                             I ND B X
                                                                             1              P ROC EEDIN GS
 2
                                                                             2             VIDEOGRAPHER: We're on the audio
 3    STYLB AND NUMBER .                          . • . •          1
                                                                             3   and video record. Today's date is February the
 4    APPEARANCES . . . .                         •   •   •   •    3
                                                                             4   12th, 2020. The appro ximate time is 10:05 a.m.
 5    STIPULATIONS . .                                    . .      4
                                                                             5    This is the video-recorded deposition of Ms.
  6 DEPOSITION BXHIBIT INDEX . .                          •   •    6
                                                                             6   Annette Adelsberger.
 7
      WITNESS:        ANNETTE ADELSBERGBR                                    1      Would the court reporter please administer
 8
          Bxamination by Mr. Tucker • •               •   •   •    7         a   the oath of truth to the witness?
  9       Deposition Concluded . . . .                • • • 107
                                                                             9              ANNET TEADELSBERGER,
10    COURT REPORTER'S CERTIFICATE • .                • • • 108             10   having been first duly cautioned and sworn to
11                                                                          11   testify the truth, the whole truth and nothing
12                                                                          12   but the truth, testified on her oath as follows:
13                                                                          13                 EXAMINATION
14                                                                          14   BY MR. TUCKER:
15                                                                          15   Q. Good morning.
16                                                                          16   A. Good morning.
17                                                                          11   Q. Would you please state your full name, ma'am?
18                                                                          18   A. Annette Rose Adelsberger.
19                                                                          19   Q. Is that R-o-s-e?
20                                                                          20   A. Yes, sir.
21                                                                          21   Q. And your maiden name?
22                                                                          22   A. Carroll.
23                                                                          23   Q. C-a-r-r-o-1-1?
24                                                                          24 A. 1-1, yes.
25                                                                          25 Q. Ms. Adelsberger, what name do you go by?

                                                                  Page6                                                       Page8
 1                     DEPOSITION EXHIBIT INDEX
                                                                             1 A. Annette.
 2    No. 1    Notice of Deposition                       Page          8
                                                                             2   Q. And have you ever been known by a different
 3    No. 2    WarrantyDeed                               Page         24
                                                                             3    name?
 4    No. 3    Secretary of State document                Page         26
                                                                             4   A. No, sir.
 5    No. 4    Muradian document                          Page         27
                                                                             5   Q. I'm going to hand you whatI've marked as
 6    No. 5    Analysis of tax returns                    Page         31
                                                                             6    ExhibitNo. 1 which is a Notice of Deposition and
 7 No. 6 2011 tax return                                  Page         31    7   Subpoena Duces Tecum. And do you see that it
 8    No. 7    2012 tax return                            Page         35    8    states take notice that Defendant Union Pacific
 9    No. 8    2013 tax return                            Page         36    9     RailroadCompany will take the videotaped
10    No. 9    2014 tax return                            Page         37   10    deposition of Annette Adelsberger? Do you see
11    No. 10 2015 tax return                              Page         39   11    that?
12    No. 11 2016 tax return                              Page      40      12               (Deposition Exhibit No. 1 was
13    No. 12 2017 tax return                              Page         42   13    marked.)
14    No. 13 2018 tax return                              Page         44   14   A. Yes, sir.
15    No. 14 Analysis of tax returns                      Page         46   15   Q. And it says the time will be 10:00 a.m. on
             (Corrected version)
16                                                                          16    February 12, 2020, and you're here, right?
      No. 15 Photo log                                    Page         47
17                                                                          17   A. Yes, sir.
      No. 16 Photograph                                   Page      49
18                                                                          18   Q. Okay. If you'll turn to the last page,
      No. 17 Photograph                                   Page         52
19                                                                          19    please. This was Exhibit A to the notice. You
      No. 18 Photograph                                   Page         57
20                                                                          2o    may have these or you may not, butI want to read
      No. 19 Photograph                                   Page         59
21                                                                          21    it into the record. You were requested to bring
      No. 20 ADEQ Arkansas document                       Page         61
22                                                                          22    copies of all financial records and other
      No. 21 Response to Defendant's                      Page         69
23           First St of Interrogatories                                    23    documents which substantiate proof or otherwise
             and Requests for Production                                    24    support plaintiffs' claim for damages in this
24           of Documents
25                                                                          2s    case. Do you see that?


\ 1 in-U-Scri pt;RJ                                               Kelly Hill, CCR                                      (2) Pages S - 8
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 1 A. Yes.                                                 1 A. No, sir.
 2 Q. Do you have anything with you here today?            2 Q. Let me go over some ground rules with you
 3 A. No, sir. Everything Stan has.                        3 that your attorney may have covered, but I cover
 4 Q. Okay. Well, let's talk about that for just a         4 with every single witness, and you're doing a
 5 moment. As far as documents which would                 5 good job. Ifyou would, please answer out loud
 6 substantiate, prove or support your claim for           6 rather than nodding the head --
 7 damages in this case, I know that Mr. Rauls has         1 A. Yes, sir.
 8 produced tax returns?                                   8 Q. -- either up or down or side to side. And
 9 A. Yes, sir.                                            9 ifyou nod your head up and down, just for the
10 Q. From 2011 through 2018?                             10 record I'm going to have to say is that a yes.
11 A. Yes, sir.                                           11 I'm not being rude. I'm just trying to clarify
12 Q. Would you have any other documents that would       12 our record, okay?
13 support your claim for damages in this case?           13 A. Okay.
14 A. Just the sales, which is basically on the tax       14 Q. And ifyou would, please say yes or no rather
15 returns, a decline in our sales.                       15 than uh-huh or huh-uh. And I say that all the
16 Q. And I saw in your tax returns -- which we'll        16 time. But ifI hear uh-huh, I may have to say
17 go over in a moment -- there was a section that        17 was that a yes, just to make sure that we get
18 said like gross receipts, cost goods sold, things      18 your answer down correctly, okay?
19 ofthat nature. Do you have any type of                 19 A. Yes, sir.
20 financial records which show those numbers and         20 Q. The court reporter, Ms. Hill, is taking down
21 back those up?                                         21 everything we say verbatim, so we can't both talk
22 A. That would be provided by the CPA. The CPA          22 at the same time. Ifyou would, please let me
23 does all the information through the software for      23 finish my question before you begin your answer,
24 our system.                                            24 and I'll do my best to let you finish your answer
25 Q. And who is your CPA?                                25 before I ask you another question, okay?

                                                Page 10                                                      Page 12

 1   A. At this time it's Arkansas Accounting.             1   A. Okay.
 2   Q. And you said this time. Have you used              2   Q. And, Ms. Adelsberger, ifyou would, let me
 3    someone else other than that?                        3    have an agreement with you. Ifyou don't hear
 4   A. Yes, sir. Patrick Accounting.                      4    one ofmy questions, will you please ask me to
 5   Q. Let me back up. What years would Arkansas          5    repeat it?
 6    Accounting have done your records?                   6   A. Yes, sir.
 7   A. They have just taken our stuff over as of the      1   Q. And ifyou don't understand one ofmy
 8    2018 period. Patrick Accounting was sold out -       8    questions for any reason, will you please ask me
 9    another - they were Massey & Wood, and they were     9    to rephrase it?
10    sold out by another company, and after being with   10   A. Yes, sir.
11    them over 30 years, they let their smaller          11   Q. Because I'll be relying upon the answers that
12    companies go and wanted to retain other             12    you give here today in preparation for the trial
13    companies, you know, larger ones, and we were a     13    ofthis case, and ifyou answer a question
14    small company so we went with Arkansas              14    without asking me to either repeat it or rephrase
15    Accounting.                                         15    it, I'm going to take it that you heard the
16   Q. Where is Arkansas Accounting located?             16    question and that you understood the question; is
17   A. In Sherwood.                                      17    that fair?
18   Q. And am I right that they did your 2018 tax        18   A. Yes, sir.
19    return?                                             19   Q. Without telling me anything that was said,
20   A. Yes, sir.                                         20    have you had a chance to visit with your attorney
21   Q. And before that either Patrick Accounting or      21    about what we're doing here today?
22    Massey & Wood would have done those?                22   A. Yes, sir.
23   A. Yes, sir.                                         23   Q. And do you understand what we're doing here
24   Q. Okay. Ms. Adelsberger, have you ever given a      24    today?
25    deposition before?                                  25   A. Yes, sir.


.\lin-t-Script•R,                                Kelly Hill, CCR                                      (3) Pages 9 - 12
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                                                 Page 13                                                   Page   15
 1   Q. You understand that you are under oath to           1   Q. Was your father in the military?
 2    tell the truth and the whole truth just like if       2   A. Yes, sir.
 3    we were in front of a judge and a jury?               3   Q. Where did you grow up?
 4   A. Yes, sir.                                           4   A. All over to be honest. My dad was military
 5   Q. Ms. Adelsberger, are you on any medications         5    so we traveled a lot. Arkansas is where we
 6    that would affect your ability to give truthful       6    rooted.
 7    and accurate answers today?                           7   Q. When did you move to Arkansas?
 a   A. No, sir.                                            8   A. I don't know exactly.
 9   Q. Here again, without telling me anything that        9   Q. Where did you go to high school?
10    you and your lawyer discussed, what did you do to    10   A. Several places, wherever we traveled, Texas,
11    prepare for your deposition here today?              11    Missouri. My dad was military so we moved a lot.
12   A. Just review things in my bead and speak with       12   Q. Where did you graduate from high school?
13    my husband.                                          13   A. Ohio.
14   Q. Did you happen to review any documents, any        14   Q. And do you have any formal -- other formal
15    pieces of paper?                                     15    education such as college?
16   A. No, sir.                                           16   A. No - not with any certificates. I started
17   Q. Did you look at any pictures?                      11    and then went to work and didn't complete.
18   A. Yes, sir.                                          18   Q. When did you first move to Arkansas; can you
19   Q. Would those be the ones that you forwarded to      19    recall that?
2o    Mr. Rauls that he then sent to us?                   20   A. No, sir, I cannot. You would think I would
21   A. Yes, sir.                                          21    know, but I don't remember.
22   Q. Did you do anything else? You said reviewed        22   Q. Was it while you were in school or after you
23    things in my head. Help me there.                    23    got out of school?
24   A. Well, not knowing - not ever having done           24   A. During school off and on. We moved here, and
25    this. Just being nervous I think is what I'm         25    then moved away and then came back.

                                                 Page 14                                                   Page 16

 1  referring to.                                            1 Q. What branch of the service was your father?
 2 Q. Other than looking at some pictures, did you          2  A. Army.
 3 review anything else?                                    3 Q. And when y'all move to Arkansas where did you
 4 A. No, sir.                                              4 live?
 5 Q. You may recall -- and we'll go over these             5 A. Several places. Hot Springs, and then of
 6 later on -- that we sent to you and your husband          6 course Little Rock.
 7 written questions called interrogatories to which        1 Q. Ms. Adelsberger, do you have any relatives
 8 you-all responded, and your lawyer sent                   8 that have ever worked for a railroad?
 9  interrogatories to the railroad to which they            9 A. Not that I'm aware of.
10 responded. Did you look at those?                       10 Q. What is your current address?
11 A. Today, no, sir.                                      11 A. Home, 3332 Highway 319, Austin, Arkansas
12 Q. Or in preparation for your deposition?               12 72007.
13 A. No, sir.                                             13 Q. Let me repeat that. 3332 Highway 319,
14 Q. All right. Other than photographs, that's            14 Austin, Arkansas?
15 all you reviewed in preparation for today; is           15 A. Yes, sir.
16 that right?                                             16 Q. Say that ZIP code again, please.
11 A. Yes, sir.                                            11 A. 72007.
18 Q. Ms. Adelsberger, what is your date of birth?         18 Q. And how long have you lived there, ma'am?
19 A. 11/29/56.                                            19 A. I believe it'll be 14 years.
20 Q. And help me. How old does that make you?             2 o Q. This year?
21 A. Well, 64, coming up quick.                           21 A. Yes, sir.
22 Q. Where were you born?                                 22 Q. Where did you live before that?
23 A. Germany.                                             23 A. In North Little Rock.
24 Q. What town?                                           24 Q. And how long did you live in North Little
25 A. Nidda.                                               25 Rock before you moved to Austin?



\li11-t:-ScriptJ�,1                              Kelly Hill, CCR                                   (4) Pages 13 - 16
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 1 A. Probably another almost 20.                          1   Q. Did you work anywhere else prior to 1985?
 2 Q. Do you have any relatives in Pulaski County?         2   A. Yes, sir.
 3 A. Well, other than my son which is in Lonoke.          3   Q. Where was that?
 4 No, sir, I do not, not in Pulaski.                      4   A. Dillard's and Telesphere.
 5 Q. Have you ever pied guilty to or been                 5   Q. What was your job at Dillard's?
 6 convicted of a crime?                                   6   A. Assistant buyer. Data entry is where I
 7 A. No, sir.                                             7    started.
 8 Q. Have you ever served in the military?                8   Q. And how long did you work at Dillard's
 9 A. No, sir.                                             9    approximately?
10 Q. You are currently married; is that correct?         10   A. I'm not sure.
11 A. Yes, sir.                                           11   Q. And the other place was what again?
12 Q. And your husband's name is?                         12   A. Telesphere.
13 A. Darel Adelsberger.                                  13   Q. Telesphere?
14 Q. And spell Darel for me.                             14   A. Yes, sir.
15 A. D-a-r-e-1.                                          15   Q. What type of business is Telesphere?
16 Q. When did you and Mr. Adelsberger get married?       16   A. It was the beginning of the telephone lines
17 A. In 1983.                                            17    and your long distance.
18 Q. Where would that have been?                         18   Q. What did you do for them?
19 A. In Benton.                                          19   A. Basically call customers, try to promote them
20 Q. Does Mr. Adelsberger work anywhere?                 2o    into that service and offer them instant savings.
21 A. He's retired, and he helps me whenever I need       21   Q. When you began with AA Auto Sales in 1985,
22 help there at our business - at my business, his       22    what was your position?
23 business.                                              23   A. Sales, inventory.
24 Q. Where is Mr. Adelsberger retired from?              24   Q. And managing the business?
25 A. AA Auto Sales.                                      25   A. Yes, sir.

                                                Page 18                                                    Page 20

 1 Q. And when did he retire?                              1   Q. How many employees does AA Auto Sales
 2 A. I want to say it's been -- he probably will          2    currently have?
 3 be more apt to give you the exact date. I               3   A. Let's see. One, two, three, four. Four, not
 4 believe it's been about seven years.                    4    including myself.
 5 Q. So if we're in 2020 now, would it have been          5   Q. What days of the week do you work at AA Auto
 6 roughly sometime in 2013?                               6    Sales?
 7 A. I would think, or maybe prior to that. You           7   A. Monday through Friday.
 8 can ask him. He'll give you an exact date.              a   Q. And what days of the week is AA Auto Sales
 9 Q. And you mentioned that you are employed by --        9    open?
10 do you call it Double A or AA Auto Sales?              10   A. 7:30 to 5:30 Monday through Friday.
11 A. AA Auto.                                            11   Q. Not open on Saturdays or Sundays?
12 Q. What is your position there?                        12   A. No, sir.
13 A. Well, I do a little bit of everything. Try          13   Q. Has it ever been in the past open on
14 to manage, help anyone that needs help, direct         14    Saturdays or Sundays?
15 employees, that sort of thing.                         15   A. A long time ago, half days on Saturday.
16 Q. Are you the president of the company?               16   Q. When you say a long time ago, can you give me
17 A. Well, I would - I would say more the                17    --
18 manager. My husband would be more the president        18   A. Oh, 15, 20 years.
19 as far as the decisions.                               19   Q. Have you ever had any lawsuits before, Ms.
20 Q. How long have you been the manager of AA Auto       2o    Adelsberger?
21 Sales?                                                 21   A. Not that I know of.
22 A. Since '85.                                          22   Q. Give me a basic idea of how the business
23 Q. And had you worked at AA Auto Sales prior to        23    works. I think I've got some idea, but tell me
24 1985?                                                  24    on a day-to-day basis what happens or what you
25 A. No, sir.                                            25    hope happens.

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 1   A. Right.                                              1  of walk-in business?
 2   Q. Tell me how AA Auto Sales works.                    2 A. I would say local business is probably now
 3   A. We specialize in used auto parts, we sell           3 half and half. Maybe more so local maybe, but I
 4    used and new. We purchase our vehicles through        4 don't know the exact numbers, sir.
 5    the insurance pools or individuals that are           5 Q. And when you say local business and I say
 6    trying to sell their cars. At that point they         6 walk-in business, are we talking about the --
 7    come in to our business. They are immediately         1 A. That's businesses, yes, sir.
 8    inventoried. And then that information is input       8 Q. Are we talking about the same thing?
 9    into our data, and then from there, it is on a        9 A. Yes, sir. Local businesses around town.
10    computer system and the car is processed. We         10 Q. What type of books are kept at AA Auto?
11    pull parts off that we feel like will sell           11 A. Our daily - we're on QuickBooks, and then
12    immediately if we can. Then immediately - once       12 whatever our CPA uses, that applies our
13    it's on the inventory, then it's open for the        13 QuickBooks to their system. They're the ones
14    internet for the website, phone calls, any           14 that set us up on that system. And then our
15    advertising we might do through other businesses     15 daily information is kept each day.
16    that are similar to ours.                            16 Q. When you say daily information, what would
17   Q. So you-all do have a presence on the               17 that consist of?
18    internet; is that correct?                           18 A. Your daily invoices.
19   A. Yes, sir.                                          19 Q. What year did AA Auto first become a
20   Q. And when did that begin?                           20 business?
21   A. I don't know what year, sir. It's been a           21 A. Well, let's see. I want to say that it was
22    while.                                               22 in 1985 is when I'm estimating. I don't know
23   Q. Are we talking about several years?                23 that exact date.
24   A. Yes, sir, several. I'm not sure exactly what       24 Q. Had there been an auto parts business at that
25    year.                                                25 location before you-all bought the property?

                                                Page 22                                                     Page 24

 1   Q. And if someone wants to buy a part over the         1   A. No, sir.
 2    internet through I guess your website, tell me        2   Q. And I'll ask this to your husband, but did he
 3    how that works.                                       3    have any prior experience in the auto parts
 4   A. The sale is automatically documented through        4    business?
 5    - we have a form that is filled out, and they         5   A. Yes, sir, but you can ask him. He can
 6    fill it out and process it, and then we               6    elaborate on what he did.
 7    immediately proceed with the sale. And then           7   Q. One of the things that your attorney provided
 8    they - we wrap or crate the merchandise, and          8    us in this case is the deed reflecting the
 9    then it's shipped out, or a lot of people provide     9    purchase of the land on which your business sits.
10    their own pickup or they'll come by, or maybe a      10    It's got Mr. Adelsberger's name on it. Would you
11    local individual or a local business that sees       11    recognize this if I showed it to you?
12    it.                                                  12   A. I might. It's been a while since I've seen
13   Q. And that leads into my next question. In           13    it.
14    addition to selling auto parts on the internet,      14   Q. I'll mark the deed as Exhibit No. 2.
15    do you get walk-in business?                         15              (Deposition Exhibit No. 2 was
16   A. Yes, sir.                                          16    marked.)
17   Q. How would you break that down between --           17   Q. And do you see that the property was
18   A. As far as percentage, sir?                         18    purchased from a Charles Gaunt and Doris Gaunt?
19   Q. Yes, ma'am.                                        19   A. Yes, sir.
20   A. I'm not sure. I wouldn't know those exact          20   Q. Do you recall what the purchase price was?
21    numbers. I'm hands-on. I work all the time, so       21   A. No, sir.
22    I'm - but I'm sure Stan will be more than happy      22   Q. And then down near the bottom of the first
23    to provide whatever you need.                        23    page it shows that the Gaunts signed it on
24   Q. Do you think that your sales are a higher          24    November 30, 1982?
25    percentage on the internet or a higher percentage    25   A. Yes, sir.

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 1   Q. And were you and your husband married at that      1    your attorney provided to me, Ms. Adelsberger,
 2    time that this was purchased?                        2    was a — looks like a broker agreement - correct
 3   A. We married in *83.                                 3    me if I'm not using the right terminology — from
 4   Q. Do you know what, if anything, was done with       4    a company called Muradian Business Opportunities?
 5    the land where AA Auto is now between the time of    s   A. Yes, sir.
 6    purchase and the time that inventory was             6   Q. Do you recall that?
 7    stockpiled on the land and -                         7   A. Yes, sir.
 a   A. No, sir.                                           8   Q. Til mark that as Exhibit No. 4. Would you
 9   Q. You mentioned that you and Mr. Adelsberger         9    take a moment and just look at that and see if—
10    were married in 1983?                               10    it says Muradian Business Opportunities in the
11   A. Yes, sir.                                         11    upper left-hand comer?
12   Q. Was AA Auto an ongoing business at the time       12             (Deposition Exhibit No. 4 was
13    y*aU got married, or did it come in, as you         13    marked.)
14    said, in 1985?                                      14   A. Yes, sir.
is   A. The sales — he had a body shop, so there was      is   Q. And I see it's signed in the lower right-hand
16    a body shop. The sales came into play when he       16    comer by Mr. Adelsberger, right?
17    and I got married, and the parts that were left     17   A. Yes, sir.
is    over from repairing vehicles, I would try to        18   Q. Lookstobehedatedit January 26,2010?
19    sell, and that's where it originated, the salvage   19   A. Yes, sir.
20    yard.                                               20   Q. And if you look up at the top, it says type
21   Q. It just grew from there?                          21    of business auto salvage and auto parts, right?
22   A. Yes, sir.                                         22   A. Yes, sir.
23   Q. And from 1985 to the present, has AA Auto         23   Q. And then the name under that says AA Auto?
24    been a continuous business?                         24   A. Correct, yes.
25   A. Continuous.                                       25   Q. And it says purchase priceS 1,500,000. Do

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 1 Q. Have you or the business ever filed for              1    you see that?
 2 bankruptcy?                                             2   A. Yes, sir.
 3 A. No, sir.                                             3   Q. And was that what you-all were asking for it?
 4 Q. Ms. Adelsberger, is AA Auto a corporation or         4   A. Yes, sir.
 s a sole proprietorship or a partnership; what's          5   Q. And then the agreement was, that if the
 6 the structure of the company?                           6    business sold for S 1.5 million, then Muradian
 7 A. Sole proprietor.                                     7    would be paid a commission of $105,000 which is
 8   Q. Do you know if AA Auto is registered with the      8    7%? Tm sorry. I should show you where that is.
 9    Arkansas Secretary of State?                         9   A. I see it right here. Yes, sir.
10   A. I would think — I don't know. Stan — you          10   Q. Yes. It says 1.5 million and the commission
11    might ask Stan on that.                             11    would be 7%?
12   Q. Well, unfortunately I can't depose him.           12   A. Yes, sir.
13   A. I'm sorry. We obviously pay state sales tax,      13   Q. And then up where the handwriting is, do you
14    so I would think we would be registered,            14    see where it says $ 105,000 commission?
is   Q. I'll hand you what I'll mark as Exhibit 3.        is   A. Yes, sir.
16    It's a search of companies at the Secretary of      16   Q. Okay. And it says established 1985, so
17    State's office, and I didn't see AA Auto on         17    that's what you told me earlier, right?
18    there. I didn't know if you knew whether it was     is   A. Yes, sir.
19    registered one way or the other?                    19   Q. At the time it had nine employees it looks
20               (Deposition Exhibit No. 3 was            20    like. I'm looking at the handwritten part on the
21    marked.)                                            21    right-hand side toward the top.
22   A. I don't know, sir.                                22   A. Yes, sir.
23   Q. Okay. I see Auto Glass Plus — it goes in          23   Q. Says number of employees. Does that sound
24    alphabetical order - and then AAA Glass &           24    right?
25    Mirror, Incorporated. One of the documents that     25   A. Well, I would have — I don't know the exact


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 1 amount back then, but I see what you're saying,         1               (Deposition Exhibit No. 5 was
 2 yes, sir.                                               2    marked.)
 3 Q. And do you see it says landlord,Darel                3   A. Okay.
 4 Adelsberger?                                            4   Q. So the first tax return that we were provided
 5 A. Yes, sir.                                            5    that I'll mark Exhibit No. 6 was from 2011. Do
 6 Q. Reason for sale,it says retiring?                    6    you see that at the top?
 7 A. Yes, sir.                                            7               (Deposition Exhibit No. 6 was
 8 Q. Since this was signed January 26,20 I 0,is           8    marked.)
 9 that approximately the time frame where your            9   A. Yes, sir.
10 husband Darel retired?                                 10   Q. And do you see you and your husband's name,
11 A. I don't think that's the exact date, but I          11    Darel and Annette Adelsberger?
12 would get with him.                                    12   A. Yes, sir.
13 Q. Okay. And didMuradian Business                      13   Q. And it says home address 8125 Highway 161.
14 Opportunities bring you-all any offers from            14    Do you see that?
15 anyone to buy your business?                           15   A. Yes, sir.
16 A. Yes, sir. And you can talk with my husband          16   Q. That's the address of AA Auto,isn't it?
17 about that. I didn't visit with them, but he           11   A. That's correct.
18  did.                                                  18   Q. Y'all don't live at 8125 --
19 Q. Do you know how many there were or what the         19   A. No, sir.
20  amounts were?                                         20   Q. -- Highway 161?
21 A. No, sir.                                            21   A. Everything was sent to our business, and I'm
22 Q. And I take it that,at least in reading this         22    assuming that's what they did there.
23 agreement,it wasn't as ifMuradian was                  23   Q. In 2011 you-all were living in Austin?
24 evaluating the business,it was they were going         24   A. Yes, sir.
25 to be a broker and try to sell it for you at the       25   Q. All right. Let's look at a couple of things

                                                Page 30                                                   Page 32
 1 price you-all wanted which was $1.5 million?            1    I've got highlighted. On the first page you see
 2 A. I would say ask my husband that.                     2    Line 7,it says wages salaries,tips,etc.?
 3 Q. Okay. Ultimately no one bought the business,         3   A. Yes, sir.
 4 though,did they?                                        4   Q. And the number was $12,750. Do you see that?
 5 A. No, sir.                                             5   A. Yes, sir.
 6 Q. Did you-all ever have an agreement by which          6   Q. And then if you'll tum to the back with me
 7 someone was going to buy the business?                  7    on the next to the last page.
 8 A. We felt like there was a positive opportunity        8   A. Yes, sir.
 9 to sell, and I'm the one that said I really             9   Q. Under salaries and wages report,it says that
10 wanted to continue to work.                            1o    Darel Adelsberger was paid 12,750 that year?
11 Q. I understand. I guess what I'm asking is,           11   A. Yes, sir.
12 did you-all ever have a verbal agreement with          12   Q. Did the business pay you anything that year?
13 anyone or a contract with anyone and maybe the         13   A. No, sir.
14  financing fell through,or did it get that far?        14   Q. And let's go back to Page I,please. So on
15 A. No. I would say ask my husband, and he can          1s    Line 7 where it says wages, salaries,tips,
16 be more specific on exactly what transpired.           16    $12,750,that's what the business paid to
17 Q. You can set that to the side. Ms.                   17   Mr. Adelsberger that year?
18 Adelsberger,I'm going to hand you what I've            18   A. I wouldn't know if that was - let's see. 20
19 marked as Exhibit No. 5, which is a chart that my      19    - this is on 2011. I would say - well, I'm
20 office put together reflecting the tax returns         20    assuming so, but I don't know that that's the
21 that we were provided in this case. And what I'd       21    exact number that came just from the business.
22 like to do,if you'll keep that in front of you,        22    I'm assuming it is, yes, sir.
23 is look at some of these individual tax returns        23   Q. At least on the next to the last page that we
24 to just verify the numbers that we have in our         24    looked at just a moment ago, it said that
25 chart,okay?                                            25   Mr. Adelsberger was paid $12,750?


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  1 A. That would be exact then, yes, sir.                 1   profit was $18,680?
 2  Q. Would he have been paid wages from any               2 A. Yes, sir.
  3 business or entity or anything else other than AA       3 Q. Okay. You can set 2011 to the side. And
  4 Auto?                                                   4 before we do, on Page 2 it shows Massey & Wood as
  5 A. No, sir, not until he retired.                       5 CPAs; is that right?
  6 Q. Okay. And when he retired?                           6 A. Yes, sir.
  7 A. He retired and got his Social Security.              7 Q. Down at the bottom?
  8 Q. Understood. At any time while you were the           8 A. Yes, sir.
  9 manager ofAA Auto from 1985 to present, have you        9 Q. Now, you're doing real well, but you have to
 10 ever held any other job?                              10 let me finish the question, even though you know
 11 A. No, sir.                                           11 the answer before I get finished.
 12 Q. And did your husband ever hold another job         12 A. I apologize, sir.
 13 while he was working for AA Auto?                     13 Q. That's okay. You're doing well. Just try to
 14 A. No, sir.                                           14 let me finish. All right. I'm going to hand
 15 Q. Ms. Adelsberger, ifyou'll look on the first        15 you, Ms. Adelsberger, what I'll mark as Exhibit
 16 page with me, I've got another section                16 No. 7, and this is a copy ofwhat we got for you
 17 highlighted. It's No. 12. It says business            17   and your husband's 2012 Individual Income Tax
 18  income, and then there's a confidential sticker      18 Return. Do you see that?
 19  placed over it, I think it says or loss, attach      19            (Deposition Exhibit No. 7 was
 20  Schedule C or C-EZ. Do you see that line?            20 marked.)
 21 A. Yes, sir.                                          21 A. Yes, sir.
 22 Q. And then the number written is on Box 12 is        22 Q. Okay. On Line 7 for wages, salaries and
-23 $18,680?                                              23 tips, there's nothing in that box, correct?
 24 A. Yes, sir.                                          24 A. Correct.
 25 Q. And then ifwe tum to the third page, do you        2 5 Q. And would that be because the business did


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 1   see at the top it says Profit or Loss From            1  not pay you or your husband that year?
  2 Business?                                              2 A. That's correct.
  3 A. Yes, sir.                                           3 Q. Line 12 asks for business income or loss, and
  4 Q. And over in the upper left-hand comer it            4 the box on Line 12 says $95,545?
  5 says Schedule C?                                       5 A. Yes, sir.
  6 A. Yes, sir.                                           6 Q. And then ifwe tum two pages to go to Page
  7 Q. And ofcourse, it says Auto Salvage Auto             7 3, that has all the various sources ofincome,
  8 Parts. Do you see that?                                8 all the various sources ofexpenses, and then on
  g A. Yes, sir.                                           9 Line 31 it says Net Profit or Loss, and we have
10 Q. Now, on this page it shows -- we don't need         10 the same number of$95,545?
11 to go over all these numbers -- but it shows all       11 A. Yes, sir.
12 the different sources ofincome?                        12 Q. And will you confirm, Ms. Adelsberger, that
13 A. Yes, sir.                                           13  looking at the chart that we prepared, in 2012
14 Q. And it shows all the expenses, right?               14 the business paid zero in personal wages and the
15 A. Yes, sir.                                           15 business net profit was $95,545?
16 Q. And then down on Line 31 it asks for net            16 A. Yes, sir.
11 profit or loss, and the box says $18,680?              17 Q. All right. Ma'am, you can set that one to
10 A. Yes, sir.                                           18 the side. I'll hand you what I'll mark as
19 Q. Which is exactly what was put in the box on         19 Exhibit No. 8 which is what was provided to us by
20 Line 12 on Page 1?                                     20 counsel as your husband's 2013 Federal Tax
21 A. Yes, sir.                                           21 Return; is that correct?
22 Q. All right. We're going back to Exhibit 5            22           (Deposition Exhibit No. 8 was
23   which is just to your right. Can you confirm         23 marked.)
2 4 then that for 2011, the personal wages on the         24 A. Yes, sir.
25 2011 tax return were $12,750 and the business net      25 Q. And looking at the first page, on Line 7 it



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 l    says wages, salaries, tips, etc., there's nothing      1   Q. Ms. Adelsberger, I'm going to hand you
 2    there, correct?                                        2    Exhibit No. 10 which was provided to us as you
 3   A. That's correct.                                      3    and your husband's Individual Income Tax Return
 4   Q. And that would be because the business did           4    for the year 2015. Do you see that?
 5    not pay you or Mr. Adelsberger that year?              5              (Deposition Exhibit No. 10 was
 6   A. Yes, sir.                                            6    marked.)
 7   Q. Line 12 says business income and loss, and it        7   A. Yes, sir.
 8    shows $69,156?                                         8   Q. And Line 7 on Page 1 says wages, salaries and
 9   A. Yes, sir.                                            9    tips, and it's blank, correct?
10   Q. And then ifwe go to that third page it shows        10   A. Yes, sir.
11    income and expenses, again on Line 31 it says net     11   Q. And that's because the business did not pay
12    profit $69,156?                                       12    any wages or salaries to you and your husband
13   A. Yes, sir.                                           13    that year, correct?
14   Q. And, Ms. Adelsberger, ifyou'll look on              14   A. Yes, sir.
15    Exhibit 5, the chart for 2013, does it accurately     15   Q. And Line 12 says business income, and it
16    reflect personal wages ofzero and business net        16    shows $9,528?
17    profit of$69,156?                                     17   A. Yes, sir.
18   A. Yes, sir.                                           18   Q. And ifwe tum to the fourth page?
19   Q. Okay. You may set the 2013 return to the            19   A. Yes, sir.
20    side. I'll hand you what I'll mark as Exhibit         20   Q. Do you see in the upper left-hand comer it
21    No. 9 which was provided to us by counsel as you      21    says Schedule C?
22    and your husband's Individual Federal Tax Return      22   A. Yes, sir.
23    for the year 2014; is that correct?                   23   Q. And it's entitled Profit or Loss From
24               (Deposition Exhibit No. 9 was              24    Business?
25    marked.)                                              25 A. Yes, sir.


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 1   A. Yes, sir.                                            1   Q. And this page has all the various sources of
 2   Q. On Page 1 Line 7 says wages, salaries and            2    income and all the expenses, right?
 3    tips, and again it shows zero, correct?                3   A. Yes, sir.
 4   A. Yes, sir.                                            4   Q. And then on Line 31 it shows a net profit as
 5   Q. And for business income it shows $13,552?            5    we saw on the first page of$9,528?
 6   A. Yes, sir.                                            6   A. Yes, sir.
 7   Q. And then this time on Page 4, do you see in          7   Q. And, Ms. Adelsberger, ifyou'll look at
 8    the upper left-hand column it says Schedule C?         8    Exhibit No. 5, the chart that I handed you
 9   A. Yes, sir.                                            9    earlier, for 2015, does it accurately reflect
10   Q. And it's entitled Profit or Loss From               10    zero personal wages and a business net profit
11    Business?                                             11    based on your tax return of$9,528?
12   A. Yes, sir.                                           12   A. Yes, sir.
13   Q. And it shows all the sources of income and          13   Q. All right. Ma'am, you can set the 2015 tax
14    all the expenses and a net profit of$13,552 on        14    return to the side. Ms. Adelsberger, I'm going
15    Line 31?                                              15    to hand you what I've marked as Exhibit No. 11
16   A. Yes, sir.                                           16    which was provided to us by your counsel, and is
17   Q. And looking, Ms. Adelsberger, ifyou would,          17    that a copy ofyour and your husband's 2016 U.S.
18    at our chart, does it accurately reflect for 2014     18    Individual Income Tax Return?
19    zero in personal wages and $13,552 in business        19               (Deposition Exhibit No. 11 was
20    net profit?                                           20    marked.)
21   A. Yes, sir.                                           21   A. Yes.
22   Q. You may set the 2014 return to the side.            22   Q. Looking at the first page, ma'am, on Line 7,
23             MR. TUCKER: Was 2014 Exhibit No. 9?          23    wages, salaries and tips, it's blank, correct?
24             MADAM COURT REPORTER: 9.                     24   A. Yes, sir.
25             MR. TUCKER: Thank you.                       25   Q. And that would be because AA Auto did not pay

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 1    any wages or salaries to you or your husband that       1  2017 tax return. If you would, thumb through
 2    year?                                                   2  there and tell me if I've missed it, or if it
 3   A. Yes, sir.                                             3 goes by another name or if it just doesn't seem
 4   Q. Line 12 says business income or loss, and the         4 to be in there.
 5    box shows a business income of$30,618?                  5 A. It doesn't appear to be in there, but I'm
 6 A. Yes, sir.                                               6    certain we can get that for you.
 7 Q. And then ifwe go to the fourth page as with             1 Q. Okay. Schedule C for 2017 Profit or Loss
 8 the previous returns we've got a Schedule C; is            8 From Business, I'll ask your attorney if he can
 9 that right?                                                9 to --
10   A. Yes, sir.                                            10   A. I'm sure he can.
11 Q. And it's entitled Profit or Loss From                  11   Q. If you can get it and send it to your
12 Business?                                                 12 attorney, he can send it to me?
13   A. Yes, sir.                                            13 A. Yes, sir.
14   Q. And Part I shows the various sources of              14 Q. All right. Looking at the 2017 tax return
15 income, Part II shows the expenses?                       15 and comparing it to Exhibit No. 5 which is our
16 A. Yes, sir.                                              16 chart, does the chart accurately reflect zero in
17 Q. And then on Line 31 it says net profit or              17 personal wages and a business net profit of
18 loss, it shows the net profit of$30,618?                  18 $23,740?
19 A. Yes, sir.                                              19   A. Yes, sir.
20 Q. And that's the same number that's reflected            20 Q. You may set that Exhibit No. 12, the 2017
21 on Page 1 for business income?                            21 return, to the side. I may have spoken too soon,
22 A. Yes, sir.                                              22 Ms. Adelsberger. I couldn't tell who prepared
23 Q. And if you'll look with me, Ms. Adelsberger,           23 your 2017 tax return. Would that have been
24 at the chart for 2016, based on your tax return           24 Massey & Wood?
25 from that year, does it accurately reflect zero           25 A. Yes, sir. Well, I believe their name would

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 1    in personal wages and a business net profit of          1    have been -- they might have been in the middle
 2    $30,618?                                                2    of being bought out by Patrick Accounting, but
 3   A. Yes, sir.                                             3    yes, sir, Massey & Wood.
 4   Q. All right. Ma'am, you may set Exhibit 11 to           4   Q. At least on Exhibit 11, which was your 2016
 5    the side. Ms. Adelsberger, let me hand you what         s    return, I see that it says Massey CPA Group?
 6    I've marked as Exhibit No. 12, and is that your         6 A. Yes, sir.
 7    and your husband's 2017 United States Individual        7   Q. Okay. Ms. Adelsberger, I'm going to hand you
 8    Income Tax Return?                                      8    Exhibit 13, which is the Individual Income Tax
 9              (Deposition Exhibit No. 12 was                9    Return for 2018, and that's the United States
10    marked.)                                               10    return for you and your husband; is that correct?
11   A. Yes, sir.                                            11              (Deposition Exhibit No. 13 was
12 Q. On Page 1 Line 7 where it says wages,                  12    marked.)
13 salaries and tips, that line is blank?                    13   A. Yes, sir.
14 A. Yes, sir.                                              14   Q. And about halfway down it says Paid Preparer
15 Q. And that's because the business did not pay            15 Use Only, it says Don Rouse, Arkansas Accounting?
16 you or your husband in that year?                         16 A. Yes, sir.
17   A. Yes, sir.                                            17 Q. Okay. And this was the first time that that
18   Q. Line 12 says business income or loss, and it         18 organization had prepared the tax return for you
19    shows a business income of$23,740?                     19 and your husband; is that correct?
20   A. Yes, sir.                                            20   A. Yes, sir.
21 Q. In your previous tax returns, we looked at a           21   Q. And ifwe look on the first page Line 1, it's
22 Schedule C, which I believe was entitled Profit           22    highlighted, it says wages, salaries, tips, etc.,
23 or Loss From Business, right?                             23    and that line is blank?
24   A. Yes, sir.                                            24   A. Yes, sir.
25   Q. I was unable to find a Schedule C in your            25   Q. And that would be because AA Auto did not pay


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 1    anything to you or your husband in 2018, correct?     1   Q. Okay. Thank you. Okay. You can set both of
 2   A. Yes, sir.                                           2    those to the side. Ms. Adelsberger, I'm going to
 3   Q. And ifwe go to the second page, Line 12 says        3    hand you what I've marked as Exhibit No. 15, and
 4    business income or loss, and it shows $16,913?        4    this was produced to us by your counsel, and it
 5   A. Yes, sir.                                           5    appears to be a photo log listing particular
 6   Q. Unfortunately my chart on Exhibit No. 5 said        6    years that photographs were taken, and then it
 7    $26,913, so there's a typo. Do you see that on        7    numbers them. Do you see that?
 8    --                                                    8              (Deposition Exhibit No. 15 was
 9  A. Yes, sir. On here?                                   9    marked.)
10 Q. Yes, ma'am.                                          10   A. Yes, sir.
11 A. Yes, sir, I do.                                      11   Q. And did you put this together, or do you know
12 Q. Okay. So instead ofa 2, it should be a I,            12    where it came from?
13   right?                                                13   A. No. We put it together at the salvage yard.
14 A. Yes, sir.                                            14    Let's see. I don't - the log, probably was the
15 Q. Would you please make that change on both of         15    sales manager would have done that, and my son is
16 those lines and initial it. Thank you very much.        16    the sales manager there, and I'm sure that he
17   So with that change, does Exhibit No. 5 which is      11    would have put them all together for Stan.
18 the chart, we compare it to your 2018 tax return,       18   Q. The sales manager at AA Auto is your son?
19 does it accurately show zero in personal wages          19   A. Yes, sir.
2 o and $16,913 in business net profit?                    20   Q. What is his name?
21 A. Yes, sir.                                            21   A. Jason Carroll.
22 Q. And with that change that you made, the chart        22   Q. Does he still work there?
23 which is Exhibit No. 5, we've gone through it           23   A. Yes, sir.
24 each year individually, but it's now correct,           24   Q. And you believe that he compiled this photo
25 right?                                                  25    log?

                                                  Page46                                                    Page48

 1 A. Yes, sir.                                             1   A. Yes, sir.
 2          MR. TUCKER: Let's go off the                    2   Q. At any time did you look at the photo log and
 3  record.                                                 3    the various pictures and just compare them to
 4          VIDEOGRAPHER: We're going off the               4    make sure that -- like let's say Picture 041
 5  record. It's 10:55 a.m.                                 s    under 2014, did you do any comparison like that
 6           (A break was taken.)                           6    to just compare the photo log to the pictures?
 7           (Back on the record.)                          1   A. I would have just looked at the pictures. I
 8          VIDEOGRAPHER: We're back on the                 8    didn't compare numbers. I wouldn't have compared
 9  record. It's 11 :0 I a.m.                               9    numbers. I would have just went straight to the
10 Q. (By Mr. Tucker) Ms. Adelsberger, what I'm            10    picture.
11 going to do is hand you Exhibit No. 14 which is a       11   Q. Are you comfortable, though, that the photo
12 corrected tax return chart that removes that            12    log showing which pictures were taken and which
13 typographical error from Exhibit No. 5, and have        13    year is accurate?
14 you had a chance to compare Exhibit 14, that tax        14   A. Yes, sir.
15 chart, with Exhibit 5?                                  15   Q. And who took the pictures that were sent to
16           (Deposition Exhibit No. 14 was                16    us and that are depicted here on the photo log;
11 marked.)                                                17    would it have been one person or more than one
18 A. Yes, sir.                                            18    person?
19 Q. And does Exhibit 14 now accurately reflect           19   A. No. It could have been several. Our
20 the personal wages and business net profit ofAA         2o    employees, myself, going out into the yard, my
21 Auto from 2001 to 2018 as reflected in the income       21    husband, several people. I don't know exactly
22 tax returns we've looked at?                            22    who did what - which one.
23 A. 2011?                                                23   Q. I'll hand you what I'll mark as our next
24 Q. 2011, yes, ma'am.                                    24    exhibit which will be No. 15 -- no, I'm sorry.
25 A. Yes, sir.                                            25    Will be No. 16. I'm sorry. And ifyou want to,


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  1    ma'am, you can keep the photo log in front of         1    it show any flooding or was it just to show the
  2    you. This is a photograph that we were provided       2    property, or do you remember?
  3    that is Photograph No. 1 in the photo log, and it     3   A. No, sir. I would have to see the picture. I
  4    purports to be having been taken in 2010. It's        4    might be able to recognize the picture, but I
 5     the very first one under 2010. Do you see that?       5    don't know.
  6              (Deposition Exhibit No. 16 was              6   Q. Okay. But at least on the ground, it looks
  7    marked.)                                              7    like 2010 are the earliest photos that we have?
  8   A. Yes, sir.                                           8   A. Yes, sir.
  9   Q. And would Exhibit No. 16, this photograph,          9   Q. Had AA Auto ever experienced this type of
10     accurately depict the AA Auto premises at some       10    flooding that we see in Exhibit No. 16 before
11     point in 2010?                                       11    2010?
12    A. Yes, sir.                                          12   A. No, sir. Not - not like this, no, sir.
13    Q. Do you know ifyou took this picture or who         13   Q. Had it ever experienced any flooding at all
14     did?                                                 14    prior to 2010?
15    A. No, sir. I could have. I don't know exactly        15   A. No, not flooding like this, no, sir.
16     who took the pictures.                               16   Q. Now, you say like this, and I appreciate
11    Q. Do you know where the pictures were stored         17    that, but had it ever experienced any water
18     after having been taken? Were they taken with a      18    accumulation or flooding prior to 2010?
19     cell phone or --                                     19   A. Normal accumulation from rain. Not cars
2o    A. Cell phone more than likely, yes, sir.             20    under water, no.
21    Q. And is this picture facing to the east, or do      21   Q. And when you say normal accumulation, can
22     you know which direction that would be?              22    you --
23    A. This is facing towards the back of the             23   A. I don't know what normal would be in any year
24     property, which would be towards the railroad.       24    as far as what kind of rain we have kind of like
25    Q. I see.                                             25    now, so I really don't know what the exact amount

                                                  Page 50                                                    Page 52

 1 A. Where the culvert is.                                  1  of normal would be at any given time. I just
 2 Q. So it would be facing towards the west I               2  know that we were able to get to cars and pull
 3  think?                                                   3 parts and move cars, and at this point we
 4 A. Yes, sir.                                              4 couldn't do anything.
 5 Q. I got that wrong. And the office building              5 Q. You don't know who took this picture
 6 would be behind us in this picture?                       6 that's --
 7 A. That's correct.                                        7 A. No, sir, I don't.
 8 Q. Had -- so this looks like some pretty                  8 Q. -- Exhibit No. 16?
 9 substantial flooding on your property?                    9 A. No, sir.
10 A. Yes, sir.                                             10 Q. I'll hand you what I'll mark as Exhibit No.
11 Q. And this is just the first picture that we've         11 17. And ifyou'll turn the page in your photo
12 got which is dated 2010. The trees are green,            12 log, Ms. Adelsberger, Page No. 2 -- actually, I'm
13 but other than that, is there any way to know            13 sorry, let's go back to the first page. Do you
14 what month it was taken?                                 14 see the column beginning 2015?
15 A. I don't- I don't know. I really don't know            1s            (Deposition Exhibit No. 17 was
16 without really looking at the file maybe if there        16 marked.)
17 was a possibility of it having an exact date on          17 A. Yes, sir.
18 there, but I wouldn't know.                              18 Q. And it starts with the first picture that's
19 Q. And this is the earliest picture we have.             19 listed says 799?
20 There is one earlier picture from 2003, but it's         20 A. Yes, sir.
21 an aerial photograph?                                    21 Q. And then all ofthe pictures on Page No. 2
22 A. Correct.                                              22 are still in 2015, correct?
23 Q. I don't think that photograph showed anything         23 A. It looks like it, yes, sir.
24 that I could see very well, but do you remember          24 Q. And then ifwe go to Page No. 3, we start off
25 ifthe 2003 photograph from the aerial view, did          25 with pictures that were still taken in 2015



, I in-t:-script�'                                Kelly Hill, CCR                                   (13) Pages 49 - 52
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 1    before we go to 2018?                                 1    have to take pictures all the time to figure out
 2   A. Yes, sir, it appears so.                            2    what was going on. So it appears we took them as
 3   Q. And this particular photograph that I've            3    we knew, you know, we bad an issue and we just
 4    given you, Exhibit No. 17, the number down at the     4    couldn't- we just wanted it resolved so we
 5    bottom is 4249?                                       5    could continue to operate our business.
 6   A. Yes, sir.                                           6   Q. Is it fair to say, ma'am, that to the best of
 7   Q. And if you'll look with me on Page 3 of the         7    your knowledge, no pictures were taken in the
 8    photo log, there is a 4249 that's listed on Page      8    years 2016 and 2017?
 9    3 just three up from the bottom of the year 2015?     9   A. To the best of my knowledge. I don't know.
10   A. Yes, sir.                                          10    I don't know.
11   Q. And this picture, Exhibit No. 17, depicts the      11   Q. But at least on our photo log here, there are
12    culvert at issue?                                    12    no pictures --
13   A. Yes, sir.                                          13   A. From-
14   Q. And do you recall if you took that picture or      14   Q. -- from the years 2016, 2017?
15    who did?                                             15   A. It doesn't appear so.
16   A. I would say myself or my husband possibly. I       16   Q. And you don't have any independent
17    don't know which one of us would have.               17    recollection of seeing pictures from 2016 and
18   Q. And where are you standing when this picture       18    2017?
19    was taken if you took it?                            19   A. No, sir.
20   A. Well, it would be on one side or the other,        20   Q. Do you recall in the year say 2016 if there
21    and I'm not exactly sure. I don't know.              21    was any flooding of AA Auto?
22   Q. In this picture that's Exhibit No. 17, does        22   A. There's been flooding every year. Every year
23    the water appear to be flowing under the culvert,    23    it's a problem.
24    or can you tell?                                     24   Q. Going back to what year?
25   A. No, sir.                                           25   A. Well, as we started taking these pictures

                                                 Page 54                                                   Page 56

 1 Q. It does not or you can't tell?                        1  here in 2010, that's when we started realizing
 2 A. I can't tell, sir.                                    2  there must have been something other than just
 3 Q. Do you recall what month this photograph was          3  rain, because the water wasn't leaving the
 4  taken?                                                  4  property, and so that's when I started calling
 5 A. No, sir.                                              5  and trying to get somebody to help, you know,
 6 Q. When your son put together the photo log              6  find out maybe something was stopped up, maybe -
 7  that's Exhibit No. 15, do you know how he did it;       7  you know, something was going on somewhere. And
 a  did he get on the computer or --                        8 that's- that just seemed to be the time frame
 9 A. No, sir, I don't, but Stan- I can have him            9 that I was trying to get help from the County and
10 get with Stan and find out                              10 see if they knew anything or- and that's- you
11 Q. Okay. I was curious. All right. Do you see           11 know, that is what started it.
12 on the photo log, Ms. Adelsberger, under the year       12 Q. At least on our photo log, we go from the
13 2018 it's got March, June and August?                   13  year 20 l 0 to 2014, we don't have any pictures on
14 A. Yes, sir.                                            14 the log from 2011, 2012 or 2013?
15 Q. And before I get to the 2018 photograph,             15 A. I was just trying to get help. It wasn't
16 we've got pictures -- other than the aerial, the        16 about trying to find out- we just assumed
17 first year is 20 l 0?                                   17  people were getting on the ball trying to figure
18 A. Yes, sir.                                            1a out what was going on.
19 Q. And then we go 2014, 2015 to 2018. Do you            19 Q. But in answer to my question, we skip from
20 see that?                                               20 2010 to 2014?
21 A. Yes, sir.                                            21 A. Yes, sir. Yes, sir.
22 Q. In other words, we don't have any pictures           22 Q. You don't have any independent recollection
23 from 2016 or 2017?                                      23 of there being pictures in 2011, 2012 or 2013, do
24 A. Well, we were trying to conduct a business,          24 you?
25 and we didn't realize, you know, we were going to       25 A. No, sir.


\lin-C-Script@                                   Kelly Hill, CCR                                  (14) Pages 53 - 56
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  1   Q. And you said you were calling trying to get      1 Q. Other than the photographs that are listed in
  2    help, and you mentioned something about the        2 the photo log which is Exhibit No. 15, are you
  3    County. Tell me who you can recall having          3 aware of any other photographs that have been
  4    called.                                            4 taken of the area or the AA Auto?
  5   A. I don't remember the exact names. I think we 5 A. Well, I don't know, because I really don't
  6    might - Stan might have some names that we         6 know which photos you have here, but I'm assuming
  7    started with to see if we could get assistance.    7 that these would be all of them.
  8    But we started with the front of the ditch,        8 Q. I'll mark what I'll hand you as Exhibit No.
  9    because we said we were-we're kind of on a         9 19, Ms. Adelsberger, and that was one of the
10     fine line of being in the city and the county.    10 photos that we were provided. I believe it was
11     And so I would just call a number, and they would 11 taken in February 2019. First of all, I'll ask
12     refer me to another number, and then they would 12 you is that a photo taken toward the Waste
13     refer me to someone else. And it was just a -     13 Management property?
14     and I just took that number down and went on and 14             (Deposition Exhibit No. 19 was
15     called. I didn't document it all at that point    15 marked.)
16     in time. I was just trying to get assistance and  16 A. Yes, sir. It appears so.
17     get some information on, you know, what was going 17 Q. Basically from the culvert looking west?
18     on.                                               18 A. Towards-yes, sir.
19    Q. Ms. Adelsberger, let me hand you what I've      19 Q. And do you know if you took that photograph?
20     marked as Exhibit No. 18, and is that a           20 A. No, sir.
21     photograph showing the culvert at issue?          21 Q. Do you know who did?
22               (Deposition Exhibit No. 18 was          22 A. It would have been myself or my husband, but
23     marked.)                                          23 I'm not sure which one of us would have.
24    A. Yes, sir.                                       24 Q. All right. And then there looks like there's
25    Q. And if you -- it's got a number 1 under the     25 some type of channel there for water to flow. Do


                                                   Page 58                                                    Page 60

 1     exhibit sticker. Do you see that?                      1    you see that?
 2    A. Yes, sir, I do.                                      2   A. Yes.
 3    Q. And at least when we printed it, it showed to        3   Q. And then I can't tell how far down the
 4     be Picture No. 1 under the year 2019 in the photo      4    channel it is, but there looks like there's some
 5     log which is on Page 3. Do you see that?               5    type of vegetation or bushes or weeds or
 6    A. Yes, sir.                                            6    something in the way of the channel. Do you see
 7    Q. Do you know if you took that picture or              7    that?
 e     someone --                                             8   A. Yes, sir.
 9    A. No, sir, I don't. I don't know if I did or           g   Q. It's kind of light brown?
10     not.                                                  10   A. Yes, sir.
11    Q. Do you know what month the photograph was           11   Q. And that would be on Waste Management
12     taken?                                                12    property?
13    A. No, sir, I do not.                                  13   A. Yes, sir.
14    Q. It looks like --                                    14   Q. Do you see in the right-hand part of the
15    A. Spring.                                             1s    picture, it looks like four metal poles or
16    Q. Yeah. When I see the taller trees on the            16    stakes. I can't quite tell.
17     other side of the railroad tracks, some of them       11   A. I see that.
18     don't look like they have many leaves on them.        10   Q. Do you know what they are?
19    A. They are dead.                                      19   A. No, sir, I do not.
20    Q. And then -- but some of the trees or bushes         20   Q. And then there's either a telephone or an
21     have greened out. Do you see that?                    21    electrical pole in the upper right-hand part of
22    A. Yes, I do. The green trees are up against           22    that picture?
23     the - they're out of the water. Everything in         23   A. Yes, sir.
24     the background is dead because it's standing in       24   Q. And then way in the distance, is that -- are
25     the water.                                            25    those buildings Waste Management?


\lin-L'-Script:1<1                                 Kelly Hill, CCR                                   (IS) Pages 57 - 60
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  1   A. To be honest, I'm not sure. I'm not sure         1 them in, and then I can't tell if they have
  2    what is that far out. I wasn't - we were           2 anything to do with this lawsuit. To the best of
  3    looking down.                                      3 your knowledge and belief, do these have anything
  4   Q. And do you know if this picture was taken in     4 to do with your lawsuit?
  5    2019 as-- that's what it shows on our photo log?   5 A. Not that I'm aware of.
  6   A. That's what it shows, yes, sir. That's what      6 Q. All right. Thank you, ma'am. Have you kept
  7    it shows in that document.                         7  any books or logs about the flooding on AA Auto
 8    Q. Okay. Ms. Adelsberger, I'm going to hand you     8 property other than the photographs that we see?
 9     what I've marked as Deposition Exhibit No. 20,     9 A. No, sir, other than just the photographs and
1o     and these were provided to us in discovery. They  10 the dates that we, you know, went out and
11     appear to be records from the Arkansas Department 11 obviously looked at it, and employees couldn't
12     of Environmental Quality. The first page is a     12 get to vehicles and that sort of thing.
13     letter to Mr. Mike Stockton of AA Auto dated      13 Q. And that's what I'm asking you. I mean, I
14     October 1, 2004, so I may have misspoken; is that 14 take it you don't have any type of calendar that
15     right?                                            15 said, you know, flooded 40 percent this day and
16                (Deposition Exhibit No. 20 was         16 water finally went down this day? I mean, the
17     marked.)                                          17  documentary evidence of the water on AA property
10    A. Yes, sir.                                       18 would come from the photographs?
19    Q. And it says, RE: General Storm Water Runoff     19 A. Correct. Yes, sir.
20     Permit for Industrial Activity, Permit Tracking   20 Q. We're in February 2019 -- sorry-- February
21     No. ARR000044. Do you see that?                   21 2020 now. Have any photographs been taken this
22    A. Yes, sir.                                       22 year in 2020?
23    Q. And can you tell me what these are? Do you      23 A. No, sir, not that I'm aware of. I don't
24     recognize these?                                  24 think so.
25    A. Well, these are obviously the old ones, but     25 Q. Have -- go ahead. You were going to say


                                                 Page 62                                               Page 64
 1     they come in - we have a company, and this is     1 something?
  2    what they do. They require you to check the       2 A. I apologize. You can check with my husband.
  3    water, see what's in the soil, if you're, you     3 He may have taken some, but I didn't, I haven't
 4     know, losing whatever in the fluids, and we have  4 taken any.
 5     a company now that comes out. Stan can provide 5 Q. Has there been any water come up on the AA
 6     you with all that information. They test the      6 Auto facility in 2020?
 7     water. They come out and take the sample and      7 A. Yes, sir. It's pretty constant. It's - the
 8     make sure that everything is okay and within      8 ground has just been saturated with water so long
 9     their scales.                                     9 that - you can't use the back half of the
10    Q. This is from the ADEQ?                         10 property at all. It's just wet all the time.
11    A. Yes, sir.                                      11 And now, of course, every time there's a rain,
12    Q. Which is an acronym for Arkansas Department    12 it's just - it's a constant flood. And if the
13     of Environmental Quality. So I take it that they 13 culvert were not stopped up, you can sometimes
14     would test the water and test the soil to see if 14 see that the water will leave a little bit, but
15     maybe any of your vehicles were leaking oil or   1s there's so many dead things back there that they
16     transmission fluid, or something like that?      16 just constantly come down.
17    A. Correct.                                       17 Q. Is the culvert stopped up right now?
18    Q. Do you know if these documents have anything   18 A. I don't - I don't know.
19     to do with the allegations in this lawsuit and   19 Q. When is the last time you went and looked at
20     the--                                            20 it?
21    A. No, sir, I don't know anything.                21 A. It's been some time. I don't know exactly.
22    Q. Okay.                                          22 Q. Are we thinking weeks or months?
23    A. No, sir.                                       23 A. Ob, no. It's been months. Yes, it's been
24    Q. Because I couldn't tell. Now, of course, we    24 months.
25     asked for all kind of documents, and then we get 25 Q. The last time you went and looked at the



\ii in-U-ScriptCitJ                              Kelly Hill, CCR                              (16) Pages 61 - 64
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 1    culvert, was it open or stopped up or —               1   A. Yes, sir.
 2   A. Stopped up. Stopped up.                             2   Q. — does that sound correct?
 3   Q. And did you contact anybody about that?             3   A. That's correct, yes, sir.
 4   A. No. I kind of gave — I gave up, because no          4   Q. Do you know how many times you spoke with
 5    one would do anything. And it seemed that they        5    Mr. Morris?
 6    would try to unstop it at one point, but that one     6   A. A bunch. A bunch. I believe I talked to
 7    culvert and all those — all those acres of dead       7    everyone a bunch.
 8    trees, they are constantly falling, and I guess       8   Q. Is there any way for me to know how many a
 9    it's just a matter of them unstopping it              9    bunch is?
10    constantly. But I don't know. I don't — I            10   A. No. I didn't realize I was going to have to
11    don't know how often they do that                    11    document everything. I was just trying to get
12   Q. When you say they, you mean?                       12    assistance is all I was trying to do.
13   A. Whomevercleans the culvert I don't know            13   Q. Did you ever talk witfi anyone at Union
14    who that is.                                         14    Pacific Railroad other than Brandon Morris?
is   Q. We're in 2020. Do you think you went and           is   A. Ifl did, I would have written it down. He
16    looked at the culvert sometime in the year 2019?     16    was the one that was more the one that spoke with
17   A. Yes, sir.                                          17    me more. I think I had to leave messages, but I
18   Q. Do you know how many times?                        is    don't know exactly who that would have been. I
19   A. No, sir.                                           is    cannot give you any dates or names.
20   Q. Did you ever call anyone at the railroad           20   Q. And I think at the time Mr. Morris' position
21    about the culvert?                                   21    was Manager of Public Relations. Does that sound
22   A. At the beginning, yes, sir.                        22    correct to you?
23   Q. Would that have b^n you or someone else?           23   A. Yes, sir, that does.
24   A. No. I called.                                      24   Q. And at any time after you talked to Mr.
25   Q. And when you say at the beginning, help me         25    Morris, did you ever see anyone perform work on

                                                 Page 66                                                   Page 68

 1    with the year reference.                              1    the culvert where they got it unclogged?
 2   A. Well, I'm assuming it would have been back in       2   A. Not that I remember, sir. I couldn't tell
 3    2010, because that's when I started trying to         3    you. That's been some time ago.
 4    document if someone could help me or if they          4   Q. So if they did do work on the culvert and
 5    would try to refer me to someone that could, so       5    cleared away whatever sticks or debris were in
 6    that's my timeline. I don't — I don't have an         6    there, you wouldn't know about that?
 7    exact date on it or anything like that And then       7   A. No, sir. It's hard to get back to the
 8    I would be referred to someone, and then I would      8    culvert.
 9    write their name down, and then I would call          9   Q. How do you get back to it?
10    them.                                                10   A. Well, you have to walk the railroad, because
11   Q. And are you talking about at Union Pacific —       11    there's no way to get to it from the back because
12   A. Yes, sir.                                          12    it's completely under water.
13   Q. — or with the County?                              13   Q. You can't get to the culvert from the back of
14   A. The County, Union Pacific, a bunch of them,        14    your property?
is    I'm sure Stan can provide you with the exact         is   A. No, sir, you cannot.
16    names of the people that I had spoken to.            16   Q. So to get to the culvert you have to walk on
17   Q. Do you have any notes of those conversations?      17    the railroad right-of-way?
is   A. Stan might be able to provide whatever I had       is   A. Yes, sir.
19    handwritten down.                                    19   Q. And would you walk down the middle of the
20   Q. Do you recall who you spoke with, if anyone,       20    tracks or on the outside of the tracks?
21    at Union Pacific Railroad about this situation?      21   A. No. On the outside of the track.
22   A. I can't recall his name right now, but I'm         22   Q. On the tie-ins?
23    positive his name is in the notes.                   23   A. On the outside as close to the edge away from
24   Q. The information I was given was Brandon            24    the railroad that you could get
25    Morris —                                             25   Q. How many times do you think you've done that


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 1    over say the past four years where you've walked       1    do it. How many pages did you come up with?
 2    down to the culvert?                                   2   A. 12 I believe.
 3   A. I don't know. I don't have a number on it.           3   Q. Okay. I came up with 12 too. Good. Turn to
 4    I don't know.                                          4    Page 2 if you would, please.
 5   Q. Do you think it's more than three or four?           5   A. Yes, sir.
 6   A. I would think so.                                    6   Q. Interrogatory No. 4, do you see that in bold?
 7   Q. Do you think it's more than five?                    7   A. Yes, sir.
 8   A. I don't know. I don't know. I don't have             8   Q. It asks about the purchase date, price,
 9    a - I'm sorry, I don't have an exact number.           9    seller/buyer infonnation. And I know we looked
10   Q. It's okay. See, I don't know what you can           10    at the deed earlier, but would I need to get this
11    remember and what you can't or what you have          11    infonnation from your husband rather than you?
12    records of or what you don't.                         12   A. Yes, sir.
13   A. Right. I understand.                                13   Q. Will you look at Interrogatory No. 5 just
14   Q. And that's why I have to ask you all these          14    under that, and let me read it. It says, provide
15    questions just to find out.                           15    a chronological list of all inspections of the
16   A. Right.                                              16    plaintiffs' property and buildings following any
17   Q. Because I don't know what you know. Ms.             11    and all flooding as described in the complaint to
18    Adelsberger, I'm going to hand you what I've          18    include the date, persons present, their contact
19    marked as Exhibit No. 21, and these were              19    information, whether photographs/videos/or other
20    Responses to the Railroad's First Set of              2o    likenesses were taken. And the response says,
21    Interrogatories and Requests for Production of        21    the plaintiffs inspected the property each time
22    Documents. Do you see that in the title?              22    flooding occurred; no list or other record of
23              (Deposition Exhibit No. 21 was              23    inspection was made. And I think you told me
24    marked.)                                              24    that earlier, that you didn't keep a list or
25   A. Yes, sir.                                           25    record of inspections, correct?

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 1   Q. And do you remember working with your husband 1          A. Correct.
 2    in trying to get information and things together   2       Q. The response continues on, photographs
 3    to answer these written interrogatories and        3        occasionally were taken; copies have been
 4    requests for production?                           4        produced on CD along with a list containing the
 5   A. Yes, sir.                                        5        times taken and a general description of each
 6   Q. And if you will, tum to the -- looks like        6        photograph. Do you see that?
 7    third to last page. Do you see your signature,     7       A. Yes, sir.
 8    Ms. Adelsberger?                                   a       Q. Okay. And we looked at just a very few of
 9   A. Yes, sir.                                        g        the photographs, but the photo log has all of
10   Q. And even though the notary didn't fill in       1o        them that you know of?
11    what date it was or the month, it says that it    11       A. Yes, sir.
12    was in May of 2019. Do you see that?              12       Q. Okay. Let's look at No. 6 down at the bottom
13   A. Yes, sir.                                       13        of Page 2. It says, describe the nature and
14   Q. And is that your husband's signature to the     14        extent of the damage you allege was caused to the
15    left of yours?                                    15        plaintiffs' property as a result of any flooding.
16   A. Yes, sir.                                       16        Include in your response what specific areas of
11   Q. Okay. And it was notarized by a Sarah Rauls;    11        the property or buildings were damaged, the
18    is that correct?                                  1e        extent of the damage, when the damage occurred,
19   A. Yes, sir.                                       19        whether the damage has been repaired, who
20   Q. All right. Let's look at a few of these, if     2o        repaired it, and the cost of the repairs. Did I
21    you don't mind. Why don't we -- the pages aren't  21        read that correctly?
22    numbered. Would you take a pen and just number 22          A. Yes, sir.
23    your pages, and I'll do the same. Just number     23       Q. And then the response says, water regularly
24    them at the bottom, yeah, so that I can call out  24        flooded the north portion of the property and
25    a page number, and that may be the easiest way to 25        accumulated over approximately 40 percent of the

\lin-C-Script@                                    Kelly Hill, CCR                                    (18) Pages 69 - 72
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 1    parcel. The water damaged automobile parts             1    give you an exact- an exact number. We know-
 2    intended for resale and prevented the plaintiffs       2    this carried on for such a long period, and it's
 3    from fully accessing the property for storage and      3    still going on now, so we have to isolate or be
 4    retrieval of automobiles and parts. The                4    careful where we move a car or where we set a
 5    plaintiffs were unable to contain the flooding or      5    car, where we can or can't put a car.
 6    repair the damage. Did I read that correctly?          6   Q. Do you have any cars under water right now or
 7   A. Yes, sir.                                            7    where water has come up on them?
 8   Q. Where we get this approximately 40 percent of        8   A. We have where water has come up on them, but
 9    the parcel in the response, did you come up with       9    not under completely.
10    that or did your husband or someone else?             10   Q. And of course, it's raining today?
11   A. No, sir. I'm not sure. I'm not sure.                11   A. Yes, sir.
12   Q. But it wasn't you?                                  12   Q. And how many days has it rained this week and
13   A. No, sir.                                            13    the week before?
14   Q. It says, the water damaged automobile parts         14   A. It's a bunch. It's a bunch.
15    intended for resale. Do you see that?                 15   Q. And has that affected the water on the AA
16   A. Yes, sir.                                           16    property these recent rains that we've had?
17   Q. Do we have any kind of record of the parts          17   A. Yes, sir. Yes, sir.
18    that were damaged or what type of parts, or is        18   Q. Has anyone ever --
19    that just a general statement that some               19   A. You can't take equipment back there. You
2o    automobile parts were damaged by the water?           20    can't move a car. You can't take equipment back
21   A. Can you repeat that question?                       21    there because the equipment will get stuck.
22   Q. Yes, ma'am. That wasn't a very good                 22   Q. Has anyone told you whether or not the AA
23    question. Thank you. I'm trying to get in my          23    Auto facility is located within a floodplain?
24    mind, when it says the water damaged automobile       24   A. We know that, or we were aware of that,
25    parts intended for resale, it wouldn't be all of      25    that's what we've been told, 100 year. But we've

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 1    them?                                                  1  never, ever had floods before ever. Our
 2   A. No, sir.                                             2  neighbor's farm next door, they planted pines
 3   Q. So we're talking about some?                         3  next to our fence, and all of that has been under
 4   A. Yes, sir.                                            4  water and everything is rotted. It's just
 5   Q. And I take it it would probably depend on the        5  something has happened. It's not just once
 6    year?                                                  6 every - once every so often.
 7   A. Correct.                                             7 Q. Do you know what that something is?
 8   Q. Depend on the month?                                 8 A. No, sir, I do not. The culvert seems to be a
 g   A. Yes, sir.                                            g problem, because the waters aren't getting off of
10   Q. Depend on how much rain there was?                  10 our property anymore.
11   A. Yes, sir.                                           11 Q. Have you noticed anything else being a
12   Q. Depend on how quickly the water receded. Do         12 problem?
13    you have any record to tell me in each year the       13 A. Well, no, sir. I don't go out and search for
14    different automobile parts that were damaged and      14 the other neighbors and that sort of thing. I
15    what type of automobile parts they were and how       15 just know about us and how it has affected our
16    many?                                                 16 business. We're in business, and that's what
17   A. I don't know that I could give you an exact         11  caused the problem I feel.
18    number on that. As in this picture, all these         18 Q. Who told you that your business was in a
19    cars were under.                                      19 floodplain?
20   Q. And when you say this picture, let's -- what        20 A. I don't know who did exactly.
21    exhibit number there, 16?                             21 Q. Do you know if that was known to you or your
22   A. Yes, sir. And I'm just saying this would be         22 husband before the property was bought?
23    like an example. It would be hard for me to tell      23 A. I do not know that.
24    you, okay, this is Stock No. 22 or this is Stock      24 Q. Before putting in AA Auto Salvage, do you
25    No. 23. At this point, I'm not sure that I can        2s know if the company or you or your husband had

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 1    any type of evaluation made to determine if the        1   Q. What's the name of it?
 2    business was located within a floodplain?              2   A. St. Luke's. St. Luke's.
 3   A. No, sir, I don't know that.                          3   Q. Episcopal, Methodist, Baptist?
 4   Q. At the time the property was purchased, was          4   A. I'm not sure.
 5    the highway already constructed; is that 4 --          5   Q. Do you know if there's been any other changes
 6    what's the highway that's --                           6    to the surrounding land since 440 was put in?
 7   A. 440.                                                 7   A. Well, Waste Management, you know, they've
 8   Q. 440.                                                 8    come in. That's the only thing that's noticeable
 9   A. No, sir, it was not.                                 9    that you see, you know, besides 440 being built.
10   Q. So-- and I always call 440 the Airport              10   Q. When did Waste Management come in?
11    Highway.                                              11   A. I do not know that.
12   A. Yes, sir.                                           12   Q. Sometime after you-all had bought the
13   Q. Because that's what I have to take to get to        13    property?
14    the airport.                                          14   A. I don't know if they were there prior or- I
15   A. Yes, sir. That's what we tell everyone.             15    don't know that. I do not know that.
16   Q. And how close is AA Auto to Highway 440?            16   Q. What changes did they make to the surrounding
17   A. We're right off the exit.                           11    land?
18   Q. Like ifl wanted to get to AA Auto and I'm           18   A. Well, we- just what you see visibly, which
19    here in downtown Little Rock --                       19    is, you know, a mountain, and that's, you know,
20   A. Yes, sir.                                           20    in between the two- between 440 there's two
21   Q. I know how to get on 440. Do I go past the          21    mountains.
22    airport or not quite as far?                          22   Q. Dirt mountains or trash mountains?
23   A. Yes, sir. You go past the airport.                  23   A. Yes, sir. Trash mountains I'm assuming, but
24   Q. And what exit would--                               24    I don't know.
25 A. 12.                                                   25   Q. Any other persons or businesses have come in

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 1   Q. What's the name of that exit?                    1 since AA Auto has been in existence and changed
 2   A. Rixey. Rixey Road exit.                          2 the adjoining land up to your knowledge?
 3   Q. R-i?                                             3 A. No, sir, not that I'm aware of.
 4   A. x-e-y.                                           4 Q. Now, this railroad culvert that we're talking
 5   Q. e-y. Rixey Road exit?                            5 about, it's been there before your husband bought
 6   A. Yes.                                             6 the property, hasn't it?
 7   Q. And then if I take that exit, do I come back     7 A. Yes, sir. I would think so.
 a    underneath --                                      8 Q. And we know that he bought the property in
 9   A. Yes, sir.                                        9 1982, and then AA Auto started in '85?
10   Q. -- Interstate 440?                              10 A. Yes, sir.
11   A. Yes, sir.                                       11 Q. And did you not have any flooding problems up
12   Q. And what do I do after that?                    12 until about 20 IO?
13   A. We're on the right. There's a church, and       13 A. That's when the runoff wouldn't go anywhere.
14    then there's a piece of property that is vacated, 14 I'm sure we had water when it rained, but we
15    and then we're right beside that. You can see us 15 never had the problem like this. I mean, this
16    from the freeway when you get off.                16 was where snakes would come up. I mean, it was
17   Q. Do you recall what year 440 was built?          17 just horrible. You know, it-
18   A. No, sir, I do not. It was in construction       18 Q. When you say this, let's just say --
19    for a while, like everything else I think.        19 A. The water, the flood.
20   Q. But AA Auto is up real close to the highway?    20 Q. The picture from 2010?
21   A. Yes, sir.                                       21 A. Yes. This is just an example of what we're
22   Q. Is there still a church out there?              22 dealing with, is that, you know, snakes are
23   A. Yes, sir.                                       23 coming up, mosquitos. It just caused even more
24   Q. And is it an ongoing operation?                 24 problems. Not only that it would hurt our cars,
25   A. Yes, sir.                                       25 just a continual problem with, you know, other



                                                  Kelly Hill, CCR                                  (20) Pages 77 - 80
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  1    things going on in the area. I'm not aware of       1 Q. Okay. Let's look at Interrogatory No. 7,
  2    anybody else's situation as far as them building    2  I'll read it if you'll read along with me. The
  3    or doing anything else in our area.                 3 interrogatory asks, itemize each element of
  4   Q. But until approximately 2010 -- and we see        4 damage, including any actual damages, loss
  5    the picture, Exhibit 16?                            5 profits, special damages and/or consequential
  6   A. Yes, sir.                                         6 damages for which you sue, and state that dollar
  7   Q. Until that time you hadn't noticed any            7 amount you seek for each element, both past and
  8    excessive accumulation of water on the AA           8 future if applicable. Did I read that correctly?
  9    property?                                           9 A. Yes, sir.
10    A. No, sir.                                         10 Q. Let me read the response into the record.
11    Q. And since AA started in 1985, that would be      11 The plaintiffs' revenue declined steadily after
12     for a period of 25 years?                          12 2013 because of the flooding and inability to use
13    A. A long time.                                     13 their property. Lost revenue for 2016 to 2018 is
14    Q. I mean, if we're going from 1985 to 2010,        14 calculated as follows: Average annual gross
15     that would be 25 years?                            15 sales 2012 to 2013 was $1,265,130; gross sales
16    A. Yes, sir.                                        16 for 2016 to 2018 were $771,612, $724,730 and
17    Q. We looked at your Answer to Interrogatory No.    11 $618,323, respectively. The decline in sales
18     6 about water damage and automobile parts. Are     18 during 2016 through 2018 totaled $1,710,725.
19     there any records of the parts that were damaged   19 Using AA Auto's average gross profit margin of
2o     and what they were worth and what type of          20 50.61%, the 2016 to 2018 loss of revenue totals
21     vehicles they came out, anything like that?        21 $865,737. Ms. Adelsberger, did I read that
22    A. I would have to get with Stan and look at        22 correctly?
23     what our-- I would have to look through what our   23 A. Yes, sir.
24     - maybe our records show where we had to just      24 Q. Okay. Help me understand something here. It
25     crush when we were able to get to the cars to      25 says, using AA Auto's average gross profit margin


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  1 crush them and be able to obtain that. You know, 1 of 50.61%. Do you see that?
 2 through the sales, you know, as the sales          2 A. Yes, sir.
 3 dwindled when you can't put new inventory and      3 Q. Where does the 50.61% come from?
 4 pull that old stuff out of there, I would have to  4 A. I don't figure that. I don't know that. I
 5 get with Stan and see if maybe we can compile      5 don't know the exact percentage. Based on the
 6 some information for you.                          6 revenue is what I'm looking at here.
 7 Q. That's where I'm getting at. The Notice of      7 Q. What you're looking at when you say the
 8 Deposition that we looked at, on Page 3 said       8 revenue --
 9 copies of all the financial records and other      9 A. Yes, sir.
10 documents which substantiate, prove or otherwise  10 Q. -- I think you're talking about gross sales,
11 support plaintiffs' claim for damages in this     11 right?
12 case?                                             12 A. Yes, sir. Correct.
13 A. Yes, sir.                                      13 Q. They were a good deal higher in 2012 and 2013
14 Q. We read that earlier?                          14 than they were 2016, 2017 and 2018?
15 A. Yes, sir.                                      15 A. Yes, sir.
16 Q. Do you think you've got any kind of documents  16 Q. And we do have in Exhibit No. 14, that's our
17 that prove or support AA's claim or your claim    17 corrected chart?
18 for damages?                                      18 A. Yes, sir.
19 A. Well, it's based on the sales and our          19 Q. If you can pull that in front of you. We've
20 inventory, you know, it's just dwindled, and      20 got a list by year of how well the company did
21 that's where - that's what we see. That's on a    21 that year, right?
22 day-to-day basis.                                 22 A. Yes, sir.
23 Q. And those numbers are contained in your -- in  23 Q. With the exception of 2011, the company
24 the tax returns?                                  24 didn't pay any personal wages through the
25 A. Yes, sir.                                      25 present, right?

:\lin-l'-ScriptII:,                             Kelly Hill, CCR                                 (21) Pages 81 - 84
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  1   A. Yes, sir.                                           1 Q. And I understand if that's the case with
  2 Q. In 2011 the total amount was $31,430 when you         2  standing water, but is there anything else in
  3 add the personal wages and the business net              3 your mind that this loss ofprofit could be due
  4 profit, right?                                           4 to from 2012 to 2013?
  5 A. Yes, sir.                                             5 A. That I'm aware of - not that I'm aware of,
 6 Q. And then the following year 2012, it jumped            6 no, sir. I don't know- I can't put a finger on
 7 up three times as much to $95,545. Do you see             7 a certain thing, no, sir.
 8 that?                                                     a Q. Now, you've been in this business for quite a
 9 A. Yes, sir.                                              9 while, right?
10 Q. Do you know what caused that 300% increase?           10   A. Yes, sir.
11    A. No, sir.                                           11   Q. Is it fair to say, in years past there were
12    Q. It just happened?                                  12    more smaller auto salvage stores than there are
13 A. Well, no, I don't know. I don't know what             13    today?
14 was going on at that point in time. I don't know         14   A. Yes, sir.
15 if we changed anything, or I don't know if a lot         15   Q. And I hesitate to use the word mom and pop.
16 of new inventory possibly came in; I don't know.         16    I don't mean that disparagingly. But a lot of
11 It would have been in the sales.                         11    the mom-and-pop auto salvage stores have gone by
18    Q. Okay. From 2012 to 2013 the business loses         18    the wayside?
19     money. It goes in 2012 from $95,545, in 2013 to      19   A. Yes, sir.
20     $69,156. Do you see that?                            20 Q. And I would think that that's due in part to
21    A. Yes, sir.                                          21  some really big auto salvage businesses that come
22 Q. Do you know what caused that drop in profit           22 in and in a wake and take a large share ofthe
23  for the business from 2012 to 2013?                     23 market?
24 A. I'm assuming we would have put out more than          24 A. Yes, sir.
25 we, you know, were able to take in. Our                  25 Q. I guess one way to analogize, is sometimes in


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  1inventory wasn't being rotated. We were unable            1  a small town, ifWalMart moves in, you see a
  2to crush cars. We couldn't get to the cars which          2 local shoe store go out ofbusiness and a small
 3 lowered the amount of money when you crush cars           3 hardware store?
 4 that you get at certain times a year. You can't           4 A. Yes, sir.
 s sell from an empty basket.                                5 Q. You know what I'm saying?
 6 Q. Well, ifwe don't have any pictures from 2012           6 A. Yes, sir, I do.
 7 or 2013, at least depicted on our photo log,              1 Q. Has that happened some in the auto salvage
 a correct?                                                  8 business?
 9 A. I believe that's - correct.                            9 A. Well, there's a lot of mom and pops still out
10 Q. So do you know if there was flooding going on         10 there in this business, because it's - there's
11 in years 2012 and 2013 at AA Auto?                       11  still a need. There's still a need. Not any one
12    A. Well, we've bad consistent flooding. To tell       12  salvage yard can have everything for everybody,
13     you bow much flooding, and since we didn't take      13 and so we - our specialty is imports, and that's
14     pictures, I couldn't tell you exactly bow deep       14 what our specialty has always been. But I'm sure
15     the floods or all was going on.                      15 that - I say I'm sure, I don't know - but I'm
16    Q. And then do you know anything else that you        16 sure different things in our industry have
17     can attribute the loss in business profit to,        17 changed and may have an effect on our decline as
18     other than standing water?                           18 well as the water. I could never say that
19 A. Well, the standing water affected our                 19 nothing has ever affected our business, because
20  inventory and so, therefore, if you can't bring         2 o that would not be true.
21 any inventory in and you can't rotate that       21 Q. Have you ever had any type ofcasualty loss
22  inventory, then it starts -you're on a decline. 22 that's affected your business, other than water?
23 You're either having to buy parts from someone 23 I mean like --
24 else because you can't bring a car in, and so    24 A. No, sir.
25 your profit goes down as opposed to -            2 5 Q. -- a fire or anything like that?


, I in-l'-Script ft,                              Kelly Hill, CCR                                    (22) Pages 85 - 88
Darel Adelsberger and Annette Adelsberger vs.                                                  Annette Adelsberger
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 1   A. No, sir. We've had a light fire many, many         1   A. No, I could not put a number on it. Import
 2    years ago when a neighbor had burned some leaves     2    sales increased, but I couldn't put a number on
 3    and it came underneath the fence, and we lost        3    it.
 4    some inventory then, but never anything major,       4   Q. What percentage of AA Auto is imports?
 5    major.                                               5   A. Probably 95 percent. We don't have very many
 6   Q. Are the auto salvage places that you are in        6    American.
 7    competition with, are they in Arkansas or North      7   Q. Ms. Adelsberger, we see in the year 2015,
 8    Little Rock or are they nationwide?                  e    that was the lowest year as far as profit goes.
 9   A. Well, our competition is -we all work              9    It shows $9528?
10    together. We're all on a system that we see each    10   A. That's a bad year, yes, sir.
11    other's inventory, so we all work together.         11   Q. But then the next year 2016, it shows
12    Everybody buys - you know, everyone knows what      12    $30,618. Do you see that?
13    everyone buys. We try to work together. I'm         13   A. Yes, sir.
14    going to say it is competition, but we do           14   Q. That would be what, right at a threefold
15    refer -they refer to me, I refer to them.           15    increase in net profit, right?
16   Q. Yeah.                                             16   A. (Witness nodding head up and down.) And it
17   A. Would I prefer to sell my parts, yes, sir, I      11    could have been because we were buying parts,
18    would.                                              1e    buying cars. It's hard to pinpoint how our
19   Q. Sure. If you don't have a part somebody is        19    business fluctuates and the market -how the
20    looking for and you know that John Doe Auto Parts   20    market works and where we buy our cars. If you
21    or dealership -- or salvage yard does have it,      21    were able to buy a car at a different rate each
22    you can refer them to that company?                 22    time, or if the cars are up, if they're down.
23   A. Yes.                                              23    It's hard to pinpoint exactly one thing that
24   Q. And you hope they'll do the same for you?         24    makes it increase, other than the sales, and the
25   A. Yes, sir.                                         25    sales obviously is where the -

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 1 Q. But ultimately, if you and other auto salvage        1   Q. Sounds like -- sounds like there are a lot of
 2  yards have the same part, you want them to buy         2    market forces at work that determine whether or
 3  from you?                                              3    not AA Auto is going to have a strong year, a low
 4 A. Correct.                                             4    year or come back?
 s Q. So -- I mean, there is competition there?            5   A. Well, inventory affects that a lot. You have
 6 A. Oh, yes, sir. Yes, sir.                              6    to have inventory, and you have to be able to put
 7 Q. And what I'm trying to get at is, is your            7    it in the property, and you have to be able to
 8 competition on a local scale, is it on a                8    move out the old stuff or the older stuff, and
 g statewide scale or is it on a national scale?           9    especially, you know, when it's not any good
1o A. Well, I would say a little of both, all of          10    anymore, but you have to be able to rotate it in
11 it. You know, in this industry, it's all of it.        11    order for your numbers to be up.
12 I'm sure has a little bit of an effect on you on       12   Q. Well, let's just say from 2015 where you made
13 the internet, because people can go to a               13    less than $10,000 to 2016 where you made over
14 different -a lot of different places. So we            14    $30,000?
15 try to service specialty items that we feel like       1s   A. Yes, sir.
16 people will come to our door.                          16   Q. Why do you think the net profit tripled
17 Q. And those specialty items would be?                 11    between those two years?
18 A. Imports, foreign cars.                              18   A. I don't know. I don't know. It would only
19 Q. Foreign cars?                                       19    have to be in inventory. You know, the
20 A. Yes, sir.                                           20    inventory, we were able to purchase some
21 Q. Do you have any idea what the volume of             21    inventory, maybe we were actually able to crush
22 foreign cars sales has been the last couple of         22    one time. When you crush, then you -you know,
23 years versus what it was six or seven years ago?       23    you get to boost your inventory up.
24 A. No. I couldn't put a number on it.                  24   Q. Well, do you think --
25 Q. I couldn't either. I just wondered if --            25   A. But I don't know.

:\lin-L-Script, w                               Kelly Hill, CCR                                   (23) Pages 89 - 92
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 1 Q. Doyou think the standing water on the AA             1   Q. Could you look at those tax returns that we
 2  property was less in 2016 than 2015?                   2    went through and figure out what AA's average
 3 A. I don't know that. I do not know that.               3    gross profit margin was for any given year, or is
 4 Q. And wouldn't have any record to prove it one         4    that something that you would not be able to do?
 5  way or the other?                                      s   A. I would say they would be generated off of
 6 A. No, sir.                                             6    the sales. I personally couldn't do it, but I'm
 7 Q. Then we see from 2016 where the net profit           7    sure that somehow — I don't know if, you know,
 8  was a little over $30,000,2017 ifs a little            8    we could call in someone to ask them that
 9  under $24,000. Do you know what the cause was          9   Q. Do you know if AA--strike that. Let me go
10  for the net profit to go down roughly $7,000          10    back. Accordingto that tax return chart, 2012
11  between those two years?                              11    was - looks like far and away die best year that
12 A. No, sir.                                            12    AA Auto had, at least —
13 Q. Same question with 2017 to 2018, would you          13   A. Yes, sir.
14  know what caused that net profit to go down?          14   Q. Okay. Do you know if AA had ever done that
is A. No. Just sales in general and more outgo            is    well before 2012?
16  than income.                                          16   A. I don't remember, sir. I mean, we've had
17           MR. TUCKER: Let's go off the record          17    better sales months for sure, absolutely.
18  fora second.                                          18   Q. Butyoudon'tknow what die net profit —
19           VIDEOGRAPHER: We re going off die            19   A. I don't know the exact—
20  record. It's 12:04 p.m.                               20   Q. — was -
21            (A break was taken.)                        21   A. No, sir, I do not.
22            (Back on the record.)                       22   Q. Okay. Let's look at Interrogatory 10 which
23           VIDEOGRAPHER: We're back on the              23    is at the bottom of Page 3, if you would. And it
24 record. It's 12:10 p.m.                                24    says, identify the specific dates for which you
25 Q. (By Mr. Tucker) Ms. Adelsberger, we were            25    allege flooding of your property occurred and

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 1    looking at the Responses to Discovery, and we      1 describe the extent of the flooding on each day,
 2    were talking about Interrogatory No. 7 on Page 3.  2 location of flooding on your property and whether
 3    Where it says AA Auto's average gross profit       3 any improvements to die property were flooded.
 4    margin 50.61%, you don't know where that comes     4 And die answer says, flooding occurred to various
 s    from, do you?                                      5 degrees each time the area received significant
 6   A. I would say you would have to get with Stan,     6 rainfall. The list of photographs, documents
 7    and he would be able to give you the — how they 7 0004 - 0007, reflects some of die dates of
 8    came up with that                                  8 flooding. First of all, did I read that
 9   Q. Do you have documents at your business or        9 correctly?
10    anywhere else that you know of that talk about a  10 A. Yes, sir.
11    gross profit margin for AA Auto?                  11 Q. And where it says flooding occurred to
12   A. Nowhere else. Do I know if somebody else —      12 various degrees each time the area received
13    can you repeat that, please?                      13 significant rainfall, do you have in your mind
14   Q. Yeah. Do you have any documents or computer 14 die definition of what significant rainfall is?
is    screens dial show what the AA Auto average gross is A. The only thing I can base that on is how deep
16    profit margin is?                                 16 the water is on our property. If you can't get
17   A. I would say it would be on the computer         17 to a car, or if the car is under and you can't
is    software possibly.                                is get to any of it, that's — that's what I
19   Q. And you think-                                  19 consider there's a lot of flooding and it hadn't
20   A. I will check that out, and I would be more      20 drained off.
21    than happy to share that with Stan. Stan might 21 Q. But I take it you don't have a number in
22    be aware of that already.                         22 mind —
23   Q. Of course, that number would fluctuate from     23 A. No, sir.
24    year to year, wouldn't it?                        24 Q. — like if it flood - if it started — if
25   A. I would think so, yes, sir.                     25 it rains an inch and a half, that causes

Min-l-Script ?:                                 Kelly HUI,CCR                                     (24) Pages 93 - 96
Darel Adelsberger and Annette Adelsberger vs.                                                          Annette Adelsberger
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 1    flooding; if it rains three inches in 48 hours,            1   A. Trees, and it wouldn't go through. It
 2    that's significant rainfall? Are you being kind            2    wouldn't go underneath the culvert.
 3    of general here? And I think you are. I just               3   Q. Tree limbs you mean?
 4    need to know if you have a specific number as to           4 A. Limbs and trees. Well, big trees, little
 5    what constitutes significant rainfall?                     5  trees, limbs, everything, because it's all rotted
 6 A. Well, obviously a flash flood is significant               6 back in there.
 7  to us, but I don't have any specific number to               7 Q. And doesn't that -- when you say back in
 8  tell you that it's - any rain is rain and -                  8 there, doesn't that area normally hold water;
 9 but when it's an immediate rain, that's                       9 it's a swampy area?
10 significant to us when the water doesn't go off              10 A. It's not- at what point? I don't know when
11 the property.                                                11 it started, but it didn't - it wasn't that way.
12   Q. But you're not talking about a specific                 12 It wasn't that way when we started.
13    number of inches of rainfall?                             13 Q. Now, in looking at the Answer to
14   A. Well, if it's a flash flood, then that's a              14 Interrogatory No. 12 a bit further, it says,
15    lot of rain at one time. Just a light rain,               15 after the plaintiff repeatedly complained, the
16    that's something totally different. So I don't            16 defendant removed some debris from the culvert
11    really have an exact -- no, sir, I don't.                 11 during or about August 2015. Do you see that?
18   Q. Okay. And I didn't think so. I just wanted              18   A. Yes, sir.
19    to ask.                                                   19  Q. Do you remember that particular month and
20   A. No, I don't.                                            20   year, or would that have come from your husband?
21   Q. Okay. Let's look at Interrogatory No. 12,               21 A. That - I don't remember that exact time. I
22    and the -- I'm not going to read the actual               22 just know that, you know, at one point or another
23    interrogatory, but let me ask you a couple of             2 3 someone did try to remove - maybe try to remove
24    questions about the response. It says, nearby             24    some of the stuff that was there.
25    silt and debris floated into and accumulated              25   Q. Do you know how they removed it? Did they

                                                      Page 98                                                      Page 100
 1    inside the culvert each time it rained in the              1    bring in a trackhoe, or what did they use?
 2    area gradually restricting and eventually                  2 A. No, sir. I don't know. I don't know what
 3    blocking the flow of water. Do you see that?               3 they used.
 4   A. Yes, sir.                                                4 Q. Did you witness this --
 s Q. Do you know if each time it rained in the                  s A. No. You could see where they had dumped.
 6 area silt and debris accumulated inside the                   6 What they would do is scrape it, and then would
 7 culvert?                                                      7 dump it over to the side but it wasn't removed,
 8 A. Well, I didn't personally inspect it every                 8 it would just go back into that - what we
 9 time.                                                         9 could - what I could see what it looked like.
10  Q. So you couldn't make that statement, that                10  Q. Do you know if anybody saw Union Pacific
11   every time it rained it got debris and silt                11   remove any debris or silt or anything from that
12 inside the culvert, right?                                   12 culvert?
13 A. I wouldn't know that, no, sir.                            13 A. I don't know that.
14 Q. The answer continues, it says, the defendant              14 Q. But you yourself did not?
1s did not keep the culvert clear enough to allow               1s A. No, sir, I did not.
16 for proper drainage. I understand your position              16 Q. Let's look at No. 14, please, on Page 5. At
17 that sometimes Union Pacific didn't keep it clear            17 the top it asks about conversations you had with
18 enough, but you're not saying for the past four              18 either Union Pacific or Union Pacific's
19 years that it's never been clear enough, are you?            19 representative, and I believe you told me you
2 o A. We haven't - I have not inspected the                    2 o remember talking to Brandon Morris, but you
21 culvert every time. When I have gone to look at              21 couldn't remember any other names?
22    the culvert, it was backed up and it did not flow         22   A. Yes, sir. That's correct.
23    through.                                                  23   Q. Okay. And to ask you when those
24 Q. Were there any obstructions in the culvert or             24    conversations took place, you would just have to
25 just the water was backed up?                                25    guess at it?


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 1   A. It started in 2011, that's what I -- I can          1   Q. Okay.
 2    say that, but I don't know exactly what day, that     2   A. Correct.
 3    sort of thing.                                        3   Q. Which what's in the water doesn't have any
 4   Q. Do you know if you talked to Mr. Morris every       4    relevance to our lawsuit here today, right?
 5    year or --                                            5   A. I don't know that.
 6   A. I talked to him -I don't know how often.            6   Q. Okay. At least -- okay. Never mind. Let's
 7    He was kind on the phone, and I felt like I was,      7    go to the next page, No. 9. Request for
 8    you know, getting some assistance there.              8    Production No. 9 asks for all documents relating
 9   Q. Sure. And there's no record of those                9    to any improvements, repairs and/or modifications
10    conversations, is there?                             10    made to the property since the day you acquired
11   A. Not that I am aware of, no, sir. I didn't          11    it. And the response was all work was perfonned
12    record them or anything, no, sir.                    12    by the plaintiffs and their employees. Just
13   Q. Well, or write them down, you know?                13    sitting here, Ms. Adelsberger, what -- since you
14   A. Right.                                             14    and your husband have had the property, what
15   Q. Talked to Mr. Morris this day?                     15    improvements or modifications have been done to
16   A. I would have written down what he would have       16    it that you know of?
11    just said.                                           17   A. Well, we've constantly tried to improve, and
18   Q. Do you have any of those notes?                    18    you bring in gravel and you bring in dirt, you
19   A. No, sir, I don't. I might be able to provide       19    bring in rocks, that sort of thing. Of course,
20    whatever notes I have that just have his name and    20    we, you know, put more racks in, service racks,
21    what, you know, he said he would contact someone     21    we raise the cars up to dismantle them. Through
22    or -- but I don't know. I don't have an exact        22    the computer, you know, we've instigated that.
23    name of who and the numbers that he was              23    Our inventory is updated every day.
24    contacting. I don't have any of that                 24        So as far as the back of the property, the
25    information.                                         25    lay of the land, we haven't done anymore since

                                                Page 102                                                   Page 104
  1 Q. Okay. Let's go to Page No. 5. Request for             1 the flooding, where we used to would just keep
 2 Production No. 4. Are you there with me?                 2 hauling more stuff, you know, like gravel when we
 3 A. Yes, sir.                                             3 needed gravel or whatever. But it's -you know,
 4 Q. It says, produce all documents related to any         4 we try to keep it up.
 5 inspections perfonned on the property either             5 Q. In looking at Request for Production No. 10
  6 before or after any alleged flooding. And the            6 which asks for communications, including
 7 response says, quarterly inspections were                 7 electronic communications, e-mails and texts sent
  8 perfonned for EPA compliance by HavCom                   8 to or received from Union Pacific, and it says,
  9 Management. Was that what we looked at earlier?          9 all communication was by phone, no records kept,
10 A. Yes. They provide the information to ADEQ.           10 no documents were sent. Is that still a correct
11 Q. Okay.                                                11 answer?
12 A. And HavCom is the one that comes through on a        12 A. As far as I know.
13 quarterly basis and checks that out.                    13 Q. Okay. If you'll tum the page, looking at
14 Q. So that's going to be Exhibit No. 20, and            14 No. 13, it says, produce all profit and loss
15 then the documents behind that, that letter?            15 statements from plaintiffs' business from 2009 to
16 A. Yes, sir. Would be from HavCom.                      16 the present date. And the response says, except
17 Q. Thank you. And as we said earlier, those             17   for documents 0008 - 0260, the plantiffs have no
18 really don't have anything to do with the               18 such statements. Do you see that?
19 standing water or this lawsuit?                         19 A. Yes, sir.
20 A. Well, what they report is what is in the             2 o Q. And the documents 0008 to 260 are the tax
21 water.                                                  21 returns, so would that still be a correct
22 Q. Oil or --                                            22 response as it's contained there on Page 7 under
23 A. Yes, sir.                                            23 Request for Production No. 13?
24 Q. -- something they don't want in the water?           24 A. As far as I know. I don't know -we could
2 5 A. Correct.                                            25 try to get with the CPA, but otherwise, I would


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 1  think they would have provided that.                    1           MR. RAULS: No questions.
 2 Q. You yourself don't keep any profit or loss            2           VIDEOGRAPHER: This concludes the
 3 statements, do you?                                      3   deposition. We're off the record at 12:26 p.m.
 4 A. No, sir.                                              4            (Deposition proceedings
 5 Q. And you're not aware of any being kept at AA          5            concluded at 12:26 p.m.)
 6 Auto?                                                    6
 7 A. Ob, no. No, sir.                                      7
 8 Q. Let's look at Request for Production No. 20           8
 9 on Page 8 which asks for appraisals, and it says,        9
10 the plaintiffs have no appraisals. Would that           10
11 still be a correct statement?                           11
12 A. As far as I know. You would have to get with         12
13 my husband on that. I don't think so, but I             13
14 don't know that. I don't know when the last             14
15 appraisal was.                                          15
16 Q. Have y'all tried to sell the property at any         16
17 time since that brokerage agreement we looked at        17
18 with Muradian?                                          18
19 A. No, sir.                                             19
20 Q. Has anybody made an offer on it?                     20
21 A. Not that I'm aware of.                               21
22 Q. Ms. Adelsberger, have you understood the             22
23 questions that I've asked you here today?               23
24 A. I feel like I have.                                  24
25 Q. Have I given you --                                  25


                                                Page 106                                                     Page 108
                                                            l                   CBRTIPICATB
 1 A. Most of them.
                                                            2 STATE OP ARKANSAS )
 2 Q. I'm sorry. I didn't mean to cut you off.                                  )   as:
                                                            3 COUNTY OP PULASKI )
 3 A. No. I said I feel like I have most of them,
                                                            4       I, KELLY BILL, Certified Court Reporter, a
 4 yes, sir.                                                    notary public in and for the aforesaid county and
 5 Q. When you didn't understand it, did you ask me         5   state, do hereby certify that the witness,
                                                                ANNBTTB ADBLSBBRGBR, was duly sworn by me prior
 6 to repeat it -                                           6   to the taking of testimony as to the truth of the
                                                                matters attested to and contained therein, that
 7 A. Yes, sir.                                             7   the testimony of said witness was taken by me
                                                                stenographically, and was thereafter reduced to
 8 Q. -- or rephrase it?                                    8   typewritten form by me or under my direction and
                                                                supervision, that the foregoing transcript is a
 9 A. Yes, sir.                                             9   true and accurate record of the teatimon given
                                                                to the beat of my understanding and abilrty.
10 Q. Have I given you a full and a fair                   10       I FURTHER CBRTIPY that I am neither counsel
                                                                for, related to, nor employed by any of the
11 opportunity to answer my questions?                     11   parties to the action in which this proceeding
                                                                was taken, and, further, that I am not a relative
12 A. Yes, sir.                                            12   or employee of any attorney or counsel employed
                                                                by the parties hereto, nor financially
13 Q. Is there anything you would like to go on the        13   interested, or otherwise, in the outcome of this
                                                                action, and that I have no contract with the
14 record and say before I stop asking you                 14   parties, attorneys, or persona with an interest
                                                                in the action that affects or has a substantial
15 questions?                                              15   tendency to affect impartialit , that requires me
                                                                to relinquish control of an orrginal deposition
16 A. All we want is for us to be able to operate          16   transcript or copies of the transcript before it
                                                                is certified and delivered to the custodial
11 our business just under normal circumstances,           17   attorney, or that requires me to provide any
                                                                service not made available to all parties to the
18 normal rainfall, just operate our business, we're       18   action.
19 still doing that, working like this. That's all         19
20 we want.                                                20
21 Q. Understood. Anything else you would like to          21                     Kellr D. Bill
                                                                                  Cert fied Court Reporter
22 say?                                                    22                     State of Arkansas
                                                                                  Certification #515
23 A. No, sir.                                             23
24 Q. I thank you for your time.                           24
2s A. Thank you.                                           25


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